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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
725 EATERY CORP., etc., et ano.,                                :

                                              Plaintiffs,     :

                  - against -                                  :          Civil Action No.
                                                                          02 CV 4431 (WHP)
THE CITY OF NEW YORK, et al.,                                  :

                                               Defendants. :
-----------------------------------------------------------------X
59 MURRAY ENTERPRISES INC., etc., et al.,                        :

                                              Plaintiffs,      :

                  - against -                                     :       Civil Action No.
                                                                          02 CV 4432 (WHP)
THE CITY OF NEW YORK, et al.,                                     :

                                               Defendants. :
-----------------------------------------------------------------X
CLUB AT 60TH STREET, INC., etc., et al.,                         :

                                              Plaintiffs,             :

                  - against -                                         :   Civil Action No.
                                                                          02 CV 8333 (WHP)
THE CITY OF NEW YORK,                                              :

                                               Defendant.         :
------------------------------------------------------------------X

336 LLC., etc., et al.,                                            :

                                              Plaintiffs,             :

                  - against -                                         :   Civil Action No.
                                                                          18 CV 3732 (WHP)
THE CITY OF NEW YORK,                                                 :

                                               Defendant.         :
------------------------------------------------------------------X

    NOTICE OF FILING OF PLAINTIFFS’ JOINT APPENDIX VOLUME 14
 IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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         PLEASE TAKE NOTICE, that Plaintiffs hereby file the within Volume 14 of

Plaintiffs’ Joint Appendix in the above-captioned actions.

Dated:         New York, New York
               November 21, 2018

                                         Respectfully,

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         Edward S. Rudofsky                              Erica T. Dubno




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
725 EATERY CORP., etc., et ano.,                                :

                                              Plaintiffs,       :

                  - against -                                   :           Civil Action No.
                                                                            02 CV 4431 (WHP)
THE CITY OF NEW YORK, et al.,                                   :

                                               Defendants. :
-----------------------------------------------------------------X
59 MURRAY ENTERPRISES INC., etc., et al.,                        :

                                              Plaintiffs,       :

                  - against -                                       :       Civil Action No.
                                                                            02 CV 4432 (WHP)
THE CITY OF NEW YORK, et al.,                                       :

                                               Defendants. :
-----------------------------------------------------------------X
CLUB AT 60TH STREET, INC., etc., et al.,                         :

                                              Plaintiffs,               :

                  - against -                                           :   Civil Action No.
                                                                            02 CV 8333 (WHP)
THE CITY OF NEW YORK,                                               :

                                               Defendant.         :
------------------------------------------------------------------X

336 LLC., etc., et al.,                                             :

                                              Plaintiffs,               :

                  - against -                                           :   Civil Action No.
                                                                            18 CV 3732 (WHP)
THE CITY OF NEW YORK,                                                   :

                                               Defendant.         :
------------------------------------------------------------------X



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                           PLAINTIFFS’ JOINT APPENDIX
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       Per the Court’s Order of November 7, 2018, Plaintiffs in each of the four above-

entitled actions hereby submit their unitary Joint Appendix consisting exclusively of

evidentiary documents upon which some or all of the Plaintiffs may choose to rely. The

inclusion of documents in this Joint Appendix does not automatically signify an

endorsement or promotion of any of these documents by any individual Plaintiff or group

of Plaintiffs. That will depend on specific adoption of any of these documents by any

Plaintiffs or Group of Plaintiffs in documents they may file with the Court.

       The reference below to the “Club Plaintiffs” refers to all the Plaintiffs in Action

Nos. 02 CV 4431, 02 CV 4432 and 02 CV 8333. The reference below to the “Bookstore

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             Entertainment Study, November 1994

             Exhibit 81: 8/2/17 Stipulation and Agreement
             between Bookstore Plaintiffs and The City of New             1875
             York


Dated:        New York, New York
              November 21, 2018

                                        Respectfully,

                                        DANIEL A. SILVER
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                                               - and -
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                                        725 Eatery Corp., etc., et ano.

                                        By:    s/Daniel A. Silver
                                               Daniel A. Silver




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                                    Erica T. Dubno


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SCLAR DECLARATION

                 EXHIBIT 5




                                                                   1575
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         Department of City Planning                                                                                                                                            311 ; Search all NYC.gov websites


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         About           Zoning                                Applicants                          Plans/Studies                                        Communities                          Data/Maps
                    ,~ --         -       - - -~




                                                ~    •        •:   •,•~.          ••.':'"'   ••     ;-•,.~,,.~                  ~    -.   •      -                ,                      -   I   •    ._.:::.._.."":•--   ~:•,-...~•••••••••;i,

Residence Districts                                 . Manufacturin~fQi~tiicts; Jan·uar.y 1, 2002 to January ij:, 2Q12 ·
                                                . :.-~~       -•    ~-~    ~~•·   :.~~r._...__!_.._;.'•--•.•~    _; __ ._   •       : __ -..   _...:.    -   ,.       -   ··•    , .•:       .•.•••      _, • .:_~•:_,_-,:J·,:·.:.~         -.\




Commercial.                                     The maps and table that follow detail changes in the extent of manufacturing-
Districts                                       zoned land in the City since January 1, 2002. The period covered by this
                                                 analysis represents a time of extensive changes in the city's zoning map.
                                                 Members of the public, researchers and eleded officials have expressed
Manufacturing                                   great interest in the aggregate effect of these rezonings on the city's
Districts                                       manufacturing zones. The maps and table provide details on the geography
                                                of the rezonings, date of adoption, and a hyperlink to the City Planning
                                                Commission reports. These materials provide extensive information on each
Special Purpose
                                                rezoning. A table summarizing the changes to manufacturing districts citywide
Districts
                                                and by borough is also provided.

                                            Manufacturing districts are mapped throughout NYC, allowing a wide array
Zoning Tools
                                             of community facility, commercial_and manufacturing uses to locate as-
                                            of-right and by special permit of either the City Planning Commission or the
                                             Board of Standards and Appeals. New residences, and community facility

IJ l:3 §I II ISJ Share                      uses that include sleeping accommodations are generally precluded.

                                            Most manufacturing districts that existed on January 1, 2002 were mapped at
                                            the time of the 1961 Zoning Resolution. The drafters of the 1961 Zoning
                                            Resolution used 1950s employment data to base many of their decisions on
                                            the size and scale of the city's Manufacturing Dis!ricts. In 1955, the industrial
                                            sectors provided 1.8 million jobs, with 971,000 of those jobs in manufacturing.
                                            Since then, as a result of significant changes in the employment structure of
                                            New York City's economy, the number of industrial and manufacturing jobs
                                            has fallen continuously. By 2001, less than a third of 1955 industrial jobs
                                            remained in NYC and the manufacturing sector made up less than 20 percent
                                                                                                                                                                                                                                         1576
., .. , ... ~o .,..,. .. .., ... .,_ _ ......, ,,__.   ~                                              --~--~·---- J ., _,.. . 72
                                                                              Case 1:02-cv-08333-LJL Document                 - - . .Filed
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                                                                                                                             of its 1955 levels. By 2011, the industrial and manufacturing sectors shrank
                                                                                                                             to less than 25% and 10%, respectively, of 1955 levels.

                                                                                                                           Between 2002 and January 2012, the City Planning Commission and City
                                                                                                                           Council approved rezonings of manufacturing districts to reflect local
                                                                                                                           characteristics better and to guide new investment. The modifications to
                                                                                                                           manufacturing districts are diverse, in cases permitting new residential
                                                                                                                           neighborhoods to grow in post-industrial areas, or a different industrial
                                                                                                                           typology to be developed to support more modern business facilities. These
                                                                                                                           modifications are also widely dispersed, encompassing every borough. By
                                                                                                                           rezoning underutilized stretches of former industrial areas, the City in some
                                                                                                                           cases recognized new housing and businesses that were already being
                                                                                                                           created, or provided new opportunities based on future development
                                                                                                                           potential.

                                                                                                                          The manufacturing rezonings in this 10-year period reduced the total acreage
                                                                                                                          of these districts by 5.2 percent or slightly more than 1,100 acres citywide.
                                                                                                                          Over 20 ,000 acres remain manufacturing districts today. The most substantial
                                                                                                                          reduction occurred in Brooklyn where approximately 360 acres of lot area
                                                                                                                          zoned for manufacturing have been rezoned, representing a decline of
                                                                                                                          roughly 8.2 percent. Ma,:thattan, however, had the greatest share of its
                                                                                                                          manufacturing districts rezoned. Approximately 26% of lot area zoned for
                                                                                                                          manufacturing, or 265 acres, were mapped to another district. The changes in
                                                                                                                          lot area are calculated for each borough and explained in the summary table
                                                                                                                          below.




                                                                                                                                                                                                        1577
Case 1:02-cv-08333-LJL Document 72 Filed 11/21/18 Page 24 of 129
                   Changes to Manufacturing Zones from January 1, 2002 to January 1, 2012: by Acres of Land

                                                                                                                                Queel')s,
                                                                                   Manhat-                                     excluding Staten
                                                                  NYC                tan          Bronx        Brooklyn Queens airports Island
          lotareazoneiHormanufacturittgin                   11     •           •                                  •

          :~(?2                                             1: 24653 .,             1,002          2.3V          4,411         9,667       4,779     4,175

                     M districts                                 21,059                   883      -~,386        4,197         9,418       4;530     4,175
                     MU distri cts                                     594                119             11          21 5       2-49        249


          'L-otareazonedformarmfacturingin              i   0




                                                        ! 20,450 ',
                                                                              :-                      •


          '2012                                                                       758          2,293         4,-144        9,490       ~,602     3,765
          I    .
                     ·Mdi stri cts                               l.9,607                  ~38     . 2,176        3,816         9,212.      4,}323    3,765
                     MU di stri cts                                    84>3           120             117             328        278         278-


          !Change in fot area zorted for                1•                    ••
          'manufacturi!1g, 2002_201?*                   j          [815} :,          {232}           (88}         {2.36}        (175}       (175}          [86}

              lncrco:;c- iri' Marc-a-due to rcionings                   3B                  ·J        .17                6        ·13         13 '
                     NewM                                               14                   3                           2          9          9
                     New MU                                             24.                           i7                 4          4          4
              Decrease i~ M area due~o-retonings                    855              ·, 235         104           ' 242.        -ia-7        187           86
                     MtoC                                          ·390               166             56               45         78          78           '45
                     Mto R                                             379                 31             49          149       .:!09        109-          41
                     MUtoC                                              37                 3?
                     MUtoR                                              49                                             •i 'B     0 ..3       0.3
              Modifkation of M zohes                             1;089                     39       266·          .210          515          515
                    MtoM                                               651                 32       177               6.8       375          375
                    MtoMU                                              324                  7        gg·          157             71          71      ,.
                    MUtoMU                                         110                                                45          65          6-5     :.

                    MUtoM                                                4                                                          4'         4


          Change in lot area from other.a.ction-s, I              (3351 ·.                (3.3)      [lG)        (l24 }          {39 ;       r39}    (113}
          ~002-201?                                     I
                    M to new park, public open
                                                                   213                    10         26               46          17          17      113
                    space or preserved natura l area
                    !'J1U to new park, publ.ic open
                                                                       0 .4          '-                                          0.4         0,4
                    space or preserved natura l area
                    GPA                                            i22                    23                          -7&         21          ~1


                                                                                                                                         Queens
                                                                                                                                           state11
                                                                                                                                          'loss,
                                                                               Manhat· Bronx                   Brookl ~• Queens excl uaing Island
                                                                 NYC          tan l oss  loss                  -n l oss-  l oss  airports   loss
                                                                Acres          Acres    Acres                   Acnos    Acres:   fotal    Acres
                                                                  (#)               M     (#)                    {i#)       (#) Acres(#)     (#)

         i~et:llne in manuf~uring dirui1:{s by               [1, 152 ) '            {265 )        {i14 }         (360J         {214 )      [H 4 }    (l99}
         ,~uro, ZQ02-2Q12 ~ _ _ _ _ _        _          __             _ _ _                                       ·


          *Slight discrepancy in area differences is attributable to rounding errors and changes in
              boundary geography over the time period.


          **Combined net loss in Manufacturing districts by rezonings, establishments of parks
              and GPPs.

                                                                                                                                                           1578
Case 1:02-cv-08333-LJL Document 72 Filed 11/21/18 Page 25 of 129
           Mixed Use (MU) includes Special Mixed Use Districts, all other Special Districts in which
            M1 Districts are paired with a Residence District, M1 -D Districts, and select
            Manufacturing Districts within Special Districts, which permit new residences.


           GPP areas include land under the jurisdiction of General Project Plans approved by the
            Empire State Development Corporation or its subsidiaries.




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         The changes in manufacturing districts are shown in the map below. To view
         more detailed borough maps of these changes and timelines explaining the
         rezonings in chronological order, click on a borough in the map below.




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                                                                                                                       Areas·rezoned from
                                                                                                                       manufacturing or
                                                                                                                       mhced use to:
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                                                                                                                       ~ Mixed Use                                                                                                           '-J ('.':·
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                                                                                                                              Parkland                                                                                     ·.•
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                                                                                                               Timeline


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                                                                                                                                                                                                                      -~~-h~/~: •~ _,;,:•:~.~~ • \~..- ~-- ~~ J:_:-:.



                                                                                                              The Industrial Business Zones (IBZs) were created in early 2006 in areas of
                                                                                                              the Bronx, Brooklyn and Queens. The IBZ program evolved from the City's
                                                                                                              earlier policies focused on In-Place Industrial Parks (IPIP) , which provided
                                                                                                              business support services to industrial and manufacturing businesses located1580
                                                                         Case
··---••-"C, ........ v . . ............................... . ..... .. _ . . ... ...
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                                                                                           within the IPIP and addressed issues related to inrastructure and the business
                                                                                           environment. Like the IPIPs, policies applying to the IBZs continue to offer
                                                                                           targeted support services for industrial firms and attend to area-wide
                                                                                           improvements. The designation also provides relocation tax credits to
                                                                                           qualifying businesses that locate within an IBZ to direct investment to New
                                                                                           York City's strongest industrial areas. To create more certainty on land use
                                                                                           policy, IBZ designation also carries a commitment by the Bloomberg
                                                                                           Administration not to support a rezoning permitting new residences . Only
                                                                                           manufacturing districts may be designated as IBZs. Currently, the IBZ
                                                                                           Boundary Commission is reviewing proposed modified and new boundaries.
                                                                                           To learn more about the lBZ program, the current IBZ boundaries, and to
                                                                                           review the proposed boundaries, please visit the NYC Economic
                                                                                           Development Corporation's website .




                                                                                          la· Items accompanied by th is symbol require the free Adobe Acrobat Reader.
                                                                                          Brief explanations of terms in blue italics can be viewed by clicking on the term.




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       NYC Mobile Apps                                                                             Maps

       Resident Toolkit




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                                     Case 1:02-cv-08333-LJL Document 72 Filed 11/21/18 Page 28 of 129
 Rezonings Affecting Manufacturing Districts: 2002 to 2012
 MANHATTAN

                                                           Legend
r;;-i Rezoning Initiative Boundary, with label co rresponding to timeline below
~ A dotted outline indicates a portion of the rezoning initiative area where no M -zones were affected
•Mixed Use {MU) includes Spec/o/ Mixed Use Districts, all other Special Districts In which M1 Districts are
paired with a Residence District, M1 -D Districts, and select Manufacturing District within Special Districts,
which permit new residences
Unchanged 2002 M -Zones:                                     Rezon ings Affecting 2002 M -Zones:
                                                              -     MtoC
                                                                                                                      (
Other Actions Affecting 2002 M-Zones:                         -     M to Mixed Use (MU) *
-GPP                                                                Mto R
 New Park, Public Ope n Space or
                                                                                                                 fl
                                                              -     New M or New Mixed Use
 Preserved Natural Area:                                      -     Mixed Use to C
      -        Typel                                          -     Mixed Use to R
      -        Type2                                          -     Mixed Use to M
      -        Type3                                          -     M to Mor M ixed Use to Mixed Use




GPP areas lndude land under th e jurisdiction of General Project Plans approved by the
Empire State Development Corporation orlls subsidiaries.
Note regarding land mapped as park, public open space and preserved natural areas as of 2002:
Any land that, prior 10 1/1/2002, was either mapped as park (whether or not acquired by
the City), intended as open space, or under the jurisdiction of NYC Dept of Parks &
Recreatioo, National Park Service, NYS Dept of Environment.I Conservation. or NYS
Office of Parks, Recreation & Historic PreservaHon was not considered land available
for pe rmitted M-Zone uses, and I; not shaded on these maps.
Post-20O2 New Parks, Public Open Space or Preserved Natural Areas:
1lale.J.: Parks added to Oty Map via UllJRP action between 2002 and 2012
          but not necessarily acquired by the City.
hJil:2: Parcels acquired by or assigned to NYC Dept. of Parks & Recreation
    between 2002 and 2012 but not added lo the City Map. These
    exclude parcels Intended for DPR operations use.
~ : Land owned by or under management by the New York
    Qty Economic Development Corporation which is
    planned as public open space.




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                                                                     -.;;.  SJ.
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                              Case 1:02-cv-08333-LJL Document 72 Filed 11/21/18 Page 29 of 129
Timeline of Rezonings Affecting Manufacturing Districts in Manhattan, Not Including Other Actions: 2002-2012

               7/24/2002            Acres ULURPNo.                    6/29/2008
 /IS CLINTON URA t                    0.6 OZ0463Zfl!M    1178 84WHITEST*                2.1 06003ZZMM
       MtoR                           06                       MtoC                     2.1
              1/29/2003                                                 7/23/2008
 /17 GAT!WAYII •                      0.3 020ll6ZMM      l/80 HU_~~ SQ NORTH •          1.3 070575ZMM
      MtoC                            0.3                      MtoMU                    13
              6/24/2003                                                 10/7/2008
 #10 EAS'fHARLEMREZONING              1.7 0Jl234AZMM     ~ El2ST!!~Tpeyt                3.3    ~33ZMM
      MloR                            17                       MtoC                     3.3
             8/19/2003                                                5/20/2009
 #12 HUDSON ~Q~ARE REZONING           4,8 030B7ZMM       ll92 THECUNTON PARK~           2.2
      MloC                            4.8
                                                          -- -MtoC-         -           2.2
            3/10/2004                                                 12/9/2009
Ul8 2-lOWESTENOAVE•                   1,6 0lQ214ZMM      fflOl_ wp9JHST'                1,3 Q!!OOl~ZMM
      MtoC                            l..6                     M toR                    13
             7/21/2004                                              12/21/2009
U23 IAFAYETTE STREZONING •            0.3 040021ZMM      U103 WESTERN RAIL YARDS•
                                                                                   .   13.0    Q!l0433ZMM
     MUtoC                            0.3                      MtoC                    13.0'
               8/12/2004                                                3/3/2010
U25 IADIES MILE RE'ZON ING           17.9 040331ZMM      H104 W44TH ST & 11TH AVE' t    1.7    ~l2MM
     Mtoc                            17.9                     MtoR                      1.7
              11/10/2004                                            10/13/2010
ff29 VE'RIZON W43RD ST REZONING•      1.0 ().1()2A9ZMM   #ll1 NORTHTRIIJECAREZONING
                                                                -             .        27.6    l~
      MtoC                            1.0                     MUtoC                    27.6
#30 ,VERIZON W47TH•W48TH STS •        2.6 0402502MM                    4/6/ 2011
      MtoM                            2.6                ttllS CUN1_0N COMMONS •       0.4     llO~MM
               1/19/2005                                       MtoR                    0.4
#}2 HUDSON YARDS                     71.9 04012:!AZM                6/14/2011
      MtoC                           60.2                "120 ~CLINTON REZONING        37.1    1101Zl™M
      MtoR                           11.6                     MtoM                     25.4
             6/23/2005                                        MtoR                     117
1138 WEST CH£LSfA/HIGH UNE           32,4 OS0162AZMM                   9/21/2011
      MtoC                           26.7                11124 WEST 28TH STREET •      !i.6 l00063ZMM
     MUtoC                            S.7                     MtoMU                    S.6
              10/11/2005
#42 FAR WESTV ILIAGE                  1,5 060006ZMM
     MtoC                             l.5
               4/26/2(YJ6
#45 MADISON PARK WEST                 1.2 060210ZMM
      Mto C                           12
               9/13/2006
 1152 l.RIBECA NOR]:HIIEZO!'JING      3.7 !MQ~3ZM!!:)
        MUloC                         3.7
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 ttS4 W60TH ~T PR~_ECT'              1.9 (X;OIOIIZMM
        MtoC                         19
                 6/15/2007
#56 EHARLEM SALT STORAGE FACILITY 1 3.0 010235ZMM
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tt66_ SPEC MANHATTANVILL£ DIST•     23.1 0704~
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       M!O!!'I                       4.1
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                1/30/2008
~~ TIJC~·IT-AWAY •                   0.4 Oli022SZMM
       MloC                          M
              3/26/2008
U71 EAST RIVER REALTY CO. •          8.7 070522Zt.: M
     MtoC                            l.6 §! QZQS29ZMM
     MtoC                            7.0
               4/16/2008
1173 REI/RED CROSS REZONIN G•        1.5 D70289ZMM
                                                                                                            • Rewnlng by private applicant
     MtoR                            1.5
                                                                                                            t . Rezoning ~Ycity agency excluding DCP
               4/30/2008
U'l_,§_ 1~ ST CORRIDOR t             1,6 080099AZMM
         MtoC                        161                                                                                                               1583
                                      Case 1:02-cv-08333-LJL Document 72 Filed 11/21/18 Page 30 of 129
                                                                                                                                                                                                               Legend
 Rezonings Affecting Manufacturing                                                                                                                 r.;i Rezoning Initiative Boundary, with                                     Unchanged 2002 M-Zones:
                                                                                                                                                   L..:::J label corresponding to timeline below
 Districts: 2002 to 2012                                                                                                                           A dotted outline indicates a portion of tire rezoning
                                                                                                                                                   ln!Hotive area where no M-zones were affected                               Rezonings Affecting 2002 M-Zones:
 BRONX                                                                                                                                             "Mixed Use {MUJ includes Sp(fc/o/ Mixed Use Districts,                       -     MtaC
                                                                                                                                                   all other S~dal Districts in which Ml Districts ore paired                   -     M to Mixed Use (MU)•
                                                                                                                                                   with o jlesidence District, Ml-D Districts and select
                                                                                                                                                   ManuJacturing Districts within Special Districts, which                           MtoR
                                                                                                                                                   permit new residences
                                                                                                                                                                                                                                -     New M or New Mixed Use
                                                                                                                                                                                                                                -     Mixed Use to C
                                               ~   ·.   -                                                                                                                                                                       -     Mixed Use to R
                                         ,1 - _.-- . .:.                                                                                                                                                                        -     Mixed Use to M
                                                                                                                                                                                                                                -     M to Mor Mi,ed Use to Mixed Use
                                                                                                                                                                                                                               Other Actions Affecting 2002 M-Zones:
                                                                                                                                                                                                                                -GPP
                                                                                                                                                                                                                                New Park, Public Open SpJce or
                                                                                                                   I •
                                                                                                                                                                                                                                Preserved Natural Area:
                                                                                                                                                                                                                                    -     Type1
                                                                                                                                                                               ·-........                                           -     Type 2
                                                                                                                                                                                                                                          Type 3
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                                                                               GPP areas include land under the jurisdiction of General Project Plans approved by the Empire State Development Corporation or Its subsidiaries.
                                                                                Note regarding land mapped as park, public open space and preserved natural areas as of 2002:
                                                                               Any land that, prior to 1/ 1/2002, was either mapped as park (whether or not acquired by the City), intended as open space, or un der the
                                                                               Jurisdiction of NYC Dept of Parks & Recreation, National Park Service, NYS Dept. of Environmental Comervation, or NYS Office of Parks, Recreation &
                                                                               Historic Preservation was not considered land available for permitted M-Zone uses, and is not shaded on these maps.
                                                                                Post-2002 New Parks, Public Open Space or Preserved Natural Areas:
                                                                               Tul!U: Parks added to Cily Map via ULURP action between 2002 and 2012 but not necessa1ily acquired by the City.
                                                                                                                                                                                                                      1584
               .PLANNING
oa>A'!IMENl'OFCJiYM          iG OJYa:~
                                                                               ~ : Parcels atqulred by or assigned to NYC Dept. of Parks & Recreation between 2002 and 2012 but not added to the Oty Map. These exclude
                                                                                         parcels intended for DPR operations use.
                                                                               I!/.11ti: Land owned byor under management by the New York City Economic Developme nt Corporation which is planned as public open space.
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 Timeline of Rezonings Affecting Manufacturing Districts in the Bronx, Not Including Other Actions: 2002-2012

               8/19/2003                      Acres        ULURPNo.
 1113 MORRISANIAAREA REZONING                   26.3       030333ZMX
      MtoMU                                     25.3
      NotMtoMU                                   1.0
 111-~ W~~H!!"GTON P½ZA '                        2.8       030213ZMX
            MtoC                                 2.8
                       9/30/2003
 111.5 9TYJ_SlAND ~~ZONING                       1.2       030467ZMX
        MtoC                                     1.2
            MtoR                                 0.1:
                       3/9/2005
 113•1 PORT MQRl!IS[B~_(!CKNER BLl£D           36.1        OS0120ZMX
        M!O M,Y                                35.4.
        NotMtoMU                                 o.i
                10/11/2005
 ff4:I 764 E176TH STREET•                        0.8       0303702M)(
 --·                   ·-
        MloR                                     0.8
                       2/1/2006
 ff4li l!_X ~_!l_Ml~AL_MK1:~AT!c~~-~-CNT~_+ 21.7          050529ZM><
        Mto C                                  21.7
                       3/22/2006
 ~4_,l WEST~H~TER SQU_~RE·~-~REGA               1.7       060lllOZMX
        MtoR                                     17
                       7/19/2006
114:! PE'!lf MPKWY/INDIAl'_l_Yl~_l!>.GE         1.6       06033SZMX
  .... tytt9R                                   1.6
1149 VAN CORTI.ANDTCENTER •                     2.2       060214ZMX
        -               .         -
        MtoR                                    2. 2
            7/25/2007
#60 WAKEFIELO/EASTCHESlER                       3.9       070409ZMX
    MtoR                                        3.9
                       4/16/2008
1174 ROSCOECBROWNEJRAPTS t                      1.2       000233ZM>:
                   -
        MtoR                                    12
                 4/30/2008
1176 JAMl;S J. LYONS URP t                      0.1       00>128ZMX
        MtoR                                    0.1
                   7/23/2008
1181 HUNTS POINT SPECIAL DIST                 170.l       08024&MX
        MtoM                                  169.9
       -MtoR
         ......... .          --                0.2
#~2 __si:A_NN'S_AY.ED~V *                       3.2       ~
        MtoR                                    3.2
                   U/18/2008
~89 VIA VE~DE/THE GREEN W~_y t                  3.0       0805172MX
        MtoC                                    3.0
                   6/30/2009
1194 LOWER CONCOURS E                          68.7       090303ZMX
       -·                   -·-                25.4
       MtoC             .... - ·- -
       MtoM                                     7.1.
       Mio MU                                ' 20:3
• __MJ~_R_                                     10.0
    NotMtoMU                                    5.9
                   10/14/2009
                             ~f!'.~ D~
#~~- ON THE ~OUN_D_ON ct-iy.r_                  s.sl 060288ZMX
    M toR                                       S.5-
                                                      I
              10/13/2010
_#110 3500 PARK AVEN UE•                       0.4        080129ZMX
       Mto R
                                   --          0.4
                                                     I
~!f? ~.!_R_p_AV-T_REMOITTAV cq~~ODQR19.~ 100407ZMX
       Mto_f ..                                1.8
___ M ~                _                       8.3
       NotMto MU                               9. 2                                       • Rezoning by private applicant
                   10/5/2011                                                              t _Rezoning by city agency excluding DCP
#12S ~gTO~.f~RK ~FA.~ ,' ____ 17.8 100310ZMX
     MtoR                     11.s:                                                                                                  1585
                                          Case 1:02-cv-08333-LJL Document 72 Filed 11/21/18 Page 32 of 129
      Rezonings Affecting Manufacturing                                                                                           oae
      Districts: 2002 to 2012                                                                                                           ' T
                                      -.-,
      QUEENS


                                                                                 Laguardia
                                                                                 Airport




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                               Legend
      r=7 Reionlng lnltl tlve Bou,ida~/ wlth
      ~ label corre ponding to tim elln                 below
      A dotted outline lndtcotes r, oort1on of iht reum/ng
      lnltiadve area where no M-tones wefe OIJtCled
      •~txed Use (MUI lnc/µdesS[fa /
      al other Sf/eclat Districts      "bi        M!ed
                                               Use Districts
                                    1/ch M Districts ar,e paired
      w tli o Re11dence District, - Dlstr cts and se ect
      Manufacturing D/5trlcts w t In Speclol Districts, which
      permrt new residences

      Unchanged 2002 M -Zones:
                                                                                                                                              IF-I< Afr'port
      Rezonings Affecting 2002 M •Zones:
        -        MtoC
        -        M to Mixed Use (Mu)•
                 MtoR
        -        New M or New Mixed Use
        -        Mixed Use to C
                 Mixed Use to R
        -        Mixed Use to M
        -        M to Mor MIKed Use to Mixed Use
      Other Actions Affecting 2002 M -Zones:
       -     GPP
       New Park. Publlc Open Space or
       Preserved Natural Area:
             -        fype
             -        fype2
             -        'fype3


GPP areaslndude laod undor Ilic l~•lidkdon ol'Gen«i I Ptc/ ct flans approved by tlte Empire Slate Developm•nt
O,rporatloo or Its .suhlldlartu.
Notoreg;,rdir)r lond moppod Hp 111, pubf c apto lpkll and pruan,adnotur,:,I •r•as "'of lll02:
llny land th,t, prlartol/1/2002, wu eftho,n, pped •• pork [whethcr or not ocqvJredbylh• City), Intended a, open
space, or unde r tlle jurl,dlctlon ol llV(: Cop!. olP11k1& "•cruffon, Nottonal ParkS.rvi<:e,NYS D<pl of Environmental
Conservado.n, arNYS Offlceof Part,, Rec.reatfon& Hbloric. Pru.erval1on Wi!IJ not considered la.nd wailible forp~rmltttd
M•Zont! u.se5- and is nol .Jh1ded 011 thtH n,1ps.
PoSl•2002New Park!, Public Open Spate or Pr •tlvtd Nalur,1 AleHi
Tuntl: Parkn ddod to Cfty Mop vi• ULURP odlon h~en 200hnd 2012 hut not necusarlly1cquired by the Cfty.                                                                               1586
.lltw: P1rcelsocqulred by or aHlgned to NVC Dept. ol Parksand R•cr • lion b•t1•1e, n 2002 and 2012 but not added to the
       Ci!y Map. Then oxclud•p11col,lntendtd forDPR      •1"'••~•""""·
hJltl: Land awn,d by orund•r m,n11•mam by the~ W YorkCflv Ec<>nomk Oov,lopmontCorpora~on which 11 planned u publk <>pen •p.-:e.
                                Case 1:02-cv-08333-LJL Document 72 Filed 11/21/18 Page 33 of 129

Timeline of Rezon ings Affecting Manufacturing Districts in Queens, Not Including Other Actions: 2002-2012

                3/JJ/'l002           Aues      UWRPNo.                    7/29/2WJ            Aae.s         ULURPNo.
tt3 129lliSTRfZONING                   l .l                 1196 MIDD!:fVIUAGf/Gt£NDAlf/MASPETH 9.0
      NotMtoM                          ll                        MtoR                                &7
            ll/19/2003                                           MlJtoR                              0.3
1116 ARVERNEURA I                      3.0 llJlSllJZM)                     7/29/2010
      MloR                             3.0                  11105 35TH AVE REZONING~                 2.0 OJJZ23V'JQ
                8/l2/2004                                        MloR                                2.0
1124 HUNTBIS POINT SUBDISTRICT        62.0 OIOl7,lZ'•Kl     IIWl 94TH~·CORONAAVP                     s.s
      MloMU                           56.3                       MtoR                                s.s
      MtoR                             2.2                                 9/16/2!J10
      NotMtoMU                         3.5                  ll109 HOUR CHI WREN •                    3.1 1~l~o;zMO
                3/9/2005                                          MtoR                               12
1133 ~EW GARDENHICHMONO Hill          33.6    iooim~                       5/11/2011
      MtoR                            33.6                  11118 SOUTH JAMAICA                      1.2    1l0J452MQ
               7/27/2005                                          MtoR                               L2
1139 E. FLUSHING REZONING              3.0 QS02mMg                           6/1!J/Z0I1
      MtoR                             3.0                  /1121 J.;!~01, 13S.Q9 NORT!!ERN BlVO •   0.2 O?W~MQ
                9/28/2005                                        MtoR                                0.2
11~_0 C_2LLCG_[POINTRC?ONlt-jG         7,2    O~Mg                         7/28/2011
      MtoM                             0.6                  #122 SUNNYSIDE-WOODSIDE                  l,11   11W>7ZMl
      MtoR                             6.7                       MtoR                                14
                6/'J!J/Zor!!,
1147 MASPETH-WOOOSIDE                  1.4 ®294ZM:l
      MtoR                             1.4
                7/29/Zr/Jf,
II":(} VERNON BLVD REZONING"           0.9 Q200ml,l{j
      NotMlOM                          0.9
               8/16/2t:YX,
1151 SILVERC\JP WEST'                  7.4 OOJ323Zf,(l
      MloNIU                           7.4
                9/10/2.(l)J
1161 THE JAMAICA PIAN i              126.2 Q71B14AZl)IJ
        lOC                           30.6
        toM                           79.0
      MloR                            16.4
       otMtoM                          0.2
                1/9/'JIXJ!,
/167 ASTORIA STUDIO APTS '             1.4         lZti9
      MtoC                             14
            7/1/2008
979 COLLEGEPOINT-14TH AYE•             1,7    ~i'Ol7dZ~
     MtoR                              17
            8/14/2008
1183 ROCl<AWAVN EIGHOORHOOOS           G.9    OQ'.l371ZMQ
   NotMtoM                             6.9
            10/7/2008
~ DUTCH Klll.S t                      75.7 O!D42~t.~
   MtoMU                               7.0
   MUIOM                               3,8
   MU to MU                           65,0
               11/l3/1JXJ8
fl86 HU 1t!ISP01NTS01                 28.7 080362Z ~
      GPP                             21.4

-     MtaR
#187 Wllt.ETS PT D£V PlAN t
                                       7.11
                                      46.3 0003812 ~
      MtoC                            46..3
             ll/9/2008
1188 W~TERP01NTE                      1l.2 (Wi(1203Zt~
      MtoR                            112




                                                                                                                        • Rezoning by private applicant
                                                                                                                        t Rezoning bv city agency exdudlng DCP

                                                                                                                                                                 1587
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                                                                                                                                       GPP areas lndude land under the jurl,dlction of General Project Plans approved by the Empire
  Rei_onings Affecting                                                                                                                 State De~elopment Corporation or its subsidiaries.
                                                                                                                                                                             ' open space and preserved natural areas as of 2002:
                                                                                                                                       Note regarding land mapped as park, public
  Manufacturing
 •1  J       ,         \;...
                                                                                                                                      lAnyland that, prior to 1/1/2002, was either mapped as park (whether or not acquired by the Oly),
                                                                                                                                       Intended as open space, or under the jurfsdlction of NYC Dept of Parks & Recreation, National
                                                                                                                                       Park.Service,NYS Dept. of Environmental Conservation, or NVS Office of Parks, Recreation & Historic
 Districts: 2002 to 2012                                                                                                               Preservation was not considered land available for permitted M·Zone uses, and is not shaded on
   '                                                                                                                                 ~ these maps,.

                                                                                                                                          Post-2002 Ne Parks, Pu,bllc Open Space or Preserved Natural Areas:
                                                                                                                                         ~ : Parks added to Cily Map via ULURP action between 2002 and 2012 but not necessarily
                                                                                                                                                     acquired by the Qly.                                                      ,
                                                                                                                                         l.l!lls:.2: Parcels acquired by or assigned to NYC Dept of Parks & Recrea~on·between 2002and 2012
                                                                                                                                    ,,,;;._          but not added.to. the Cily Map. These, exclude parcels lntendellfor DPR operations use.
                                                                                                                                         Tuw: land owned by or under q,anagement by the New York City £coMmlc Development
                                                                                                                                                     Corporation which Is planned as public open space.



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                                                                   ~\                                                                                                                           I     r ~, ~
                                                                                                                                                                                                       ~ Rezoning Initiative Boundary, with
                                                                          \                 f                                                                                               i         L.::'...J label corresponding to timeline below
                                                                                                                                                                                                       A dotted outline Indicates a portion of the rezoning
                                                                                                                                                                                                       initiative area where no M-zones were affected
                                                                                                                                                                                                      'Mixfd Use (MU) includes Sf}fciol Mixed Use Districts,
                                                                                                                                                                    JI . ••-                          oilother S{!~cia/Districts in which Ml Distficts are po,rec
                                                                                                                                                                                                      \"/th aResidence District, Ml ·D Dist(lcts. on{iselect




                                                                                                                                                                                                       -
                                                                                                                                                                                                      ManuJaduring_Distncts within Spec,o/ Distr,cts, which
                                                                                                                                                                                                      perm,r new residences
                                          ! .:i' ).-, ;·-!L'i.;J
                                                                                                                                                                                                      Unchanged 2002 M-Zones:




                                                                                      i
                                                                                                                                                                                                      Rezonings Affecting 2002 M·Zones:
                                                                                                                                                                                                       -       MtoC
                                                                                                                                                                                                       -       M to Mixed Use {MU)•
                                                                                                                                                                               :_;.\   I-
                                                                                                                                                                                                               MtoR
                                                                                                                                                                                                       -       New Mor New Mixed Use
                                                                                                                                                                                                       -       Mixed Use to C
                                                                                                                                                                                                               Mixed Use to R
                                                                                                                                                                                                       -       Mixed Use to M
                                                                                                                                                                                                       -       M to Mor Mixed Use to Mixed Use
                                                                                                                                                 .:.!..,.•,,.· -,
                                                                                                                                                                                                      Other Actions Affecting 2002 M-Zones:
                                                                                                11 I • "f                '"'i
                                                                                                      ~   ,, l I'                                                                                      -GPP
                                                                                                                                                                                                       New Park, Public Open Space or
                                                                                                                                                                                                       Preserved Natural Area:
                                                                                                                                                                                                           -       Typel
                                                                                                                                                                                                                                                             1588
~ ~PLANNING                                                                                                                                                                                                -
                                                                                                                                                                                                           -
                                                                                                                                                                                                                   Type2
                                                                                                                                                                                                                   Type3
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 Timeline of Rezonings Affecting Manufacturing Districts in Brooklyn, Not Including Other Actions: 2002-2012

                    1/30/2002                      Acres      ULURP No.                            10/17/2007                   Acres     UlURP No.                  9/21/2011                Acres     UlURPNo.
 Ill Ll~_t!! BR~DGES REZONING ~                       2.7     01072SZMK       1162 BAY l!l~GEMIXED USE_!)EV *                     7.3 060353ZMI<,      11123 BROOKLYN BAY CENTER•                 8.5   1100472MK
                                                                                                                                                              MtoM                                8,5
      - -~---
        MtoMU
              ... ..       .
                                                      2.7                             MtoC                                        7.3.
 112 RED HOOK STORES t                                8.7     020047ZMK       1163_ ~~NG~~TERIAL •                                0.5 040161ZMI(                     11/29/2011
        MtoMU                                         8.7                             MtoR                                        0.5'                 #1~~- A_D~!fl!ll,S.ROW P_LA~ ~ _           7.4   110382ZMK
               3/25/2002                                                                           10/29/2007                                                 MtoM                                7.4
 114 HARBOR TfCH-5
              - DELEVAN* . .
                                                      2.4     c:m539ZMK        #64 45 SUMMIT STREET•                              0.4 0604mMK
        MtoR                                          2.4'                            MtoR                                      , 0.4.
                   12/18/2002                                                  #65 BEDFOR0-5TUYVESANTSO                           7,4, 070447ZMK
 J!.6. _1)0~~-& GLANTZS\TfS •                         5.4     OOXJ87ZMK               MtoC                                        3.3:
        Mto R                                         5.4                                                                         3.o·
                    4/30/2003                                                         MtoR                                        1.1
 ff):! PA~-~ SLOPE REZON[NG_                       : 13.S 030194AZMK                                2/27/2008
        ~ _t_oC                                    · HO                       --1169- DAHILL  RD•
                                                                                       -·- .-....- •   ~   - ·-   -·-·
                                                                                                                                  1.4     050236ZMK
        MtoR                                         0.5                              MtoC                                        1.4
              8/ 19/2003                                                                    3/12/2008
 #11 BRIDGE PLAZA REZONING                          10.0 020263ZMX            #7Q WAl,_~B_9_!.JT~T)l~~ REZ_ON ING •               2.0 0603mMK
        Mtoc                                         7.8                              MtoR                                        2.0'
        MtoR                                                                                       4/16/2008
                                                                                             HICKS PROJ t
                    5/5/1004                                                  .1172 COLUMBIA
                                                                                      ·-      .     .
                                                                                                                                  2.4    0801162.MK
 1119
 •·---- , .--
        GOLDSTREZONING"
        MtoR
               .... -·   .... _._ -                  0.5
                                                     0.5
                                                              030289lMK              MtoR                                         2.4
                                                                                                   4/30/2008
                    6/ 21/2004                                                tin WJ\TKINSSTCOOPSt                                1.1' 08014UMK
 1120 AM&GWATERPROOFING'                             1.6      040124ZMK              MtoR                                         1.1
      -,··-··--- --· -- -
        NotMtoM                                      1.6                                           3/11/2009
                  6/28/2004                                                   ll90 363-365 BOND STREIT •                         3.9     0000472MK
 .~2~ p.Q_';Y!'JTO~N BK_~Yf:,'. D~ ELOPM_E_NT : 3.3           040171ZMK              MtoMU                                       3.9
        Mto C                                        3.3                                    4/22/2009
               7/21/2004                                                      1191 354 CLARKSON AVE t                            2.3     070396ZMX
 1122 FRANKLIN LOFTS •                               0.8     030294ZMK               MtoR                                        2.3
        Mio R                                        0.8
                                                                                                   6/10/2009
                   9/28/2004                                              J193 DSJ~~ TREEI_!)_~M!!._0_*                          1.1,    090181ZMK
 ll_27 _226 FR{\NKLIN & 98 FREEMAN STS *             1.6' 010384ZMK·                 MtoMU                                       1.1-
        MtoMU                                        1.6                                           7/29/2009
                  10/13/2004                                                  #95 DUMBO REZON ING                               14.4- 090310ZMK
 !!2_!! _1~_'_____ . . ----··- _ _. ?~'. ~ _Q30413ZMK                              MloMU                                        14.4
        MtoM                                        23.9
             12/15/2004                                                                     9/30/2009
 1131 WATCHTOWER PROJECT'                            4.1     04021SZMK        #~~ 4?91(.~N~E~BILTAVE *                           2.5     090MlZMK
                                                                                    MtoC                                         2.5
        MtoMU                                        4.1                  --·-- ----
                                                                              1199 NAVY GREEN t                                  2.5. 090444ZMK
                   3/13/ 2005
 1135 ~ r RIDGJ_~~ONIIIIG                            1.1 OS0134AZMX.                 MtoR                                        2.5
       MtoR                                          1.1                                   12/21/2009
                5/11/2005                                                     lliQ.2 ~~~~D~AY !RIA~GL(            !,I~~!        16. 9    090413ZMK
!f~ GREENPOl~T-'!1/ILhlA_fV!SB~~Si- __         1
                                                   306,6, OSOlUAZMK                  ~_!gC                                       0.9
.... -· - M~M -·-. ...                              ~ l                              MtoR                                       16.0
        MtoMU                                      105.1,                                          4/14/2010
        MtoR                                        77.9,                 /llO~- RO_SE PLA¼_!)~_T_Ht Rl~E!i *                    3.9'. 000339ZMK
        MU to MU                                    45.2,
                          ........ -·-- --                                           MtoR                                        3.9
·-- __ MU to R__ ..                                 48.2                                           7/29/2010
       NotMtoMU                                      4.1                  11108 Tl-lE NEW DOMINO•                               11.2     1001&SZMK -
              6/8/2005                                                               M~C                                         3<
1137 LOGAN STREET REZONING•                          0.9, 040389ZMK                  MtoR                                        7.8
       MtoR                                          0.9                                        10/27/2010
                  6/13/2006                                               um·-----
                                                                          -        -·-·--- --· --•--.
                                                                               CULVEREl                                         15.8: 100345ZMK
1146 KEDEM WINERY•                                  2.1      020518ZMK    •         Mio C ________ --· · .•                      19
                                               ' 2.1               i               _M to M • _ . _         _ _ -·· ---· _ . _    0.5
             3/28/2007                                                              !1:'l!a.~u..                                111
 #55 CARROLLST* _ _ __                        I 0. 1'        06001BZMK              MtoR                                         2.3
       MtoR                                         0.1,                                        3/23/2011
                                                                          U114 WYTHE AVEREZONING •                               1.2     070245ZMI(
          7/25/2007
#57 AM&GWATERPROOFING 11 • __ .•                    o.3' 060545ZMK
                                                                          --   -----··-·
                                                                               MtoMU                                             1.2•

___ Not MtoM ·- --· - ______                        03                                          4/29/2~11
#S~ D_VKER~EIGlfil/FTHAMILTON                       5.81 07038nMK         ffll6 Z0-30CARROLLSTREETREZON ING                      0.3     110118ZMK     "' Rezoning by private applicant
_ .. _ MtoM•.. ... . ... _ __ .. .. .... .   ·- _!.3 _                    .. .- . . Mto R____ __ _______ .... . . •              0.3                   t Rezoning by city age_ncy e~cluding DCP
                                                                          11117_CARROllSTREET REZONIN§_ •---                     0.3_ lm225ZMK
···--- MtoR ________ ·----·--·· ---·· ·
#59 FORTGREENE CLINTON HILL
                                                    4.5
                                                    7.6      070430ZMK                                                           0.3'                                                                         1589
                                                                                    Mto R
       MtoR                                         7.6;
              Case 1:02-cv-08333-LJL Document 72 Filed 11/21/18 Page 36 of 129
Rezonings Affecting Manufacturing Districts: 2002 to 2012
STATEN ISLAND

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                                                                                                                                                                                                          •· H.I
                                                                                                                             '   . :::   ";



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                                                                                                                                                                                                          '   L,



                                                                                                   i.'"1 t, ~·\•. ·:; ..·,r:_,i--
                                                                                                                                                                                                ,•,•.(1
                                                                                                                                                                                                                   ~,l,.J" ·.·i   'J


                                                                                                                        . ,,                                                                  • ,)   •I

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                                                                                                                                                                              I ,~    &rr •   : :

                                                                                                                                                                                Ii ~- :



                                                                                                                                                                                                                    i-l: ... ,




                                         . ,.. - •: ' -
                                                                                                                                                                                              Legend
                                                                                              -. I ' .

                                                                                                                                                    ~ Rezoning Initiative Boundary, with
                                                     ,.
                                                    I . ~,
                                                          1•: I
                                                                                                                                                    ~ label corresponding to tlmeline below
                                                                                                                                                    A dotted outline indicotes o portion of the rezoning
                                                                                                                                                    initiative area where no M-zones were affected
                                                                                                                                                    *Mixed Use (MU) Includes Special Mixed Use
                                                                                                                                                    Districts, of/ o//Jer Specio/ Districts in which
                                                                                                                                                    Ml Districts are paired wit/I a Residence District,
                                                                  'I                                                                                Ml-D Districts, and select.Manufacturing Distr/c1s
                                                                                                                                                    within Special Districts, which permit new residences

                                                                                                                                                    Unchanged 2002 M-Zones:

                                                                                                                                                    Rezonings Affecting 2002 M-Zones:
                                                                                                                                                       -               MtoC
                                                                                                                                                        -              M to Mixed Use (MU)*
                                                                                                                                                                       M toR
                                                                                                                                                       -               New Mor New Mixed Use
                                                                                                                                                       -               Mixed Use to C
                                                                                                                                                                       Mixed Use to R
                                                                                                                                                       -               Mixed Use to M
                                                                                                                                                       -               M to Mor Mixed Use to Mixed Use
                                                                                                                                                   Other Actions Affecting 2002 M-Zones:
                                 GPP areas Include land under the Jurlsdlttloo of General Project Plans approve d by the Empire
                                 State Development Corporatioo or its subsidiaries.                                                                    -GPP
                        Nole regarding land mapped as park, public open space and preserved natural areas as of 2002:                                  New Park, Public Open Space or
                        Any land that, prior to 1/1/2002, was either mapped as park{whether or not acquired by the City),                              Preserved Natural Area:
                        Inte nded as open space,or under the Jurisdiction of NYC Dept of Parks & Recreatioo, National
                        Park Service, NYS Dept. of Environmental Conservation, or NYS Office of Parks, Recre.ition & Historic
                                                                                                                                                                   -                 Type l
                        Preserv.ition was not considered land .iva lable for permitted M-Zone uses, and is not shaded on these maps,                               -                 Type2
                Post-2002 New Parks, Public Open Space or Preserved Natural Areas:                                                                                 -                 ,Vpe3
                I\<Pll1:Parks added to City Map via ULURP action between 2002and 2012 but not necessarily acquired by the City.                                                                                                               1590
                ~ : Parcels acquired by or assigned to NYC Dept. of Parks & Recrea~on between 2002 and 2012 but not added
                        to the City Map. lhese exclude parcels intended for DPR ope rations use.
                Jwe-3: La nd owned by or under management by the New Yor~ City Economic Development Corporafon which is
                        olanned as oubllc ooen soa.ce.
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Timeline of Rezon ings Affecting Manufacturing Districts in Staten Island, Not Including Other Actions: 2002-2012


                3/12/2003               Acres   ULURPNO.

    ---
  #8 NICHOLAS AVE REZONING*
       MtoR
            --· ..   --  . -
                                         12.1
                                         12.1
                                                020188ZMR


                 12/3/2003
  !!_1] . ~I~/~9UT_H½.S1:_MID·l~½N~_t    0.01 020636ZMR
        MtoR                             0.011
              8/12/2004
  #26 TIDESATCHARLfSTON •                25.7 030449ZMR
       MtoR                              25.7 ,
                 10/25/2006
  ~I? JJ~W ~1APL~ON_ >,yATERFRO_~ ! DEV 44.8    OOJ471ZMR
        MtoC                            44.8
                 5/11/2011
  !!,_12J..~NIO_N AVE~UE R_EZONIN_G•      3.3   100118ZMR
        MtoR                              3.3




                                                                                  • Rezoning by private applicant
                                                                                 _t Rezoning ~Y city age_ncy excluding DCP

                                                                                                                             1591
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Timeline of Rezonings Affecting Manufacturing Districts, Not Including Other Actions: 2002-2012

                 1/30/2002                          Acres      ULURP No.                                   7/21/2004                    Acres     ULURP No.                               2/1/2006                        Acres      ULURP No.

--··--.
 fl1 UGI-IT BRIDGES REZONING •
                       .....            -   .....      2.7     010725ZMK          #22 FRANKLIN LOFTS•                                      O.8. 030294ZMK      #43 BX TERMINAL MKT GATEWAY CNTR t 21.7
                                                                                                                                                                         --~     -    -     ~-4     -               -
                                                                                                                                                                                                                                    O'i0529ZMX
        !'_Ho_~                    _                   2.7
                                                                              -#23--- .LAFAYITTE
                                                                                        MtoR
                                                                                        -- ·--~--                                          0.8                          MtoC                                                21.7
  - RED HOOK. STORESt
 112                                                   8.7     02CX»llMK               -          ST REZONI NG*  .                         0,3 040021ZMM                                  3/22/2006
        MtoMU                                          8.7                                   MUtoC                                         0.3                 #_44 ~ES:-~HE~TE~ Sg_UARE-ZER!,GA                             1.7- Ofi0180ZMX
                    3/B/2002                                                                               8/12/2004                                                    M to R                                               1.7
_IQ_ :g9:™_ST REZQNING •                               1.1    0'.)()188ZMQ    n24 ~_urmRS POlt-! f SUB~ISTRICT                           62,0 040273ZMQ                                   4/26/2006
        NotMtoM                                        1.1                         Mio MU                                                56.3'                 1145 MADISON PARK WEST•                                       1.2, Of,0210ZMM
              3/25/2002                                                                    . f;i!toR                                      2.2
                                                                                                                                                               ,.    ~----··•             ·-      .--   -                    1.2
                                                                                                                                                                        MtoC
 114 HARBOR TECH-5 DELEVAN •                           2.4     OOJ539ZMK      ..             NotMto MU _                                  3.5                                             6/13/2006
        MtoR                                           2.4'                   //2S _l!,~_I_ES_M!~R!ZO~l~G                                17.9 040331ZMM        #46 KEOEMWINERY*                                              2.1    0205182.MK
                   7/24/2002                                                           _ MtoC                                            17.9                       MtoR                                                     2.1
 II_~ Cl!NTO~ URA t                                    0.6 020463ZMM          #26 TI_D.ES AT CHA~Lf~ON •                                 25.7 030449ZMR                                   6/29/2006
        Mto R                                          0.6,                                 Mto R                                        2S.7                  /147 ~SP!:'._TH-1}{.00DSIDE                                   1.4   060294ZMJ
                12/18/2002                                                                                9/28/2004                                                     MtoR                                                 L4
116 OOMSEY & GLANTZ SITES•                             5.4    OCXXJ87ZMK      U27 226
                                                                                   . -
                                                                                      FRANKLIN & 98 FREEMAN
                                                                                                          - STS •                         1.6     010384ZMK                           7/19/2006
    -·- ~- ---- -        -                                                                             .
       Mto R                                           5.4                                  MtoMU                                         l.6                  ft48 ~LHA_M PIW{f/ lNDIA~ VILLAGE _                           1.6' 060335ZMX
                   1/29/2003                                                                              10/13{2004                                                -~ _to.fl                                                1.6
117 GATEWAY II •                                      0.3' 020216ZMM          'B~ -'~'?-.-                                               23.9     030413ZMK    1/49 VAN CORTLANOTCENTER +
                                                                                                                                                                                           -- - .           ---
                                                                                                                                                                                                                            2.2     c:6021~2'.M)(
        MtoC                                          0.3                                   MtoM                                         23.9                                                                               2. 2
                                                                                                                                                                        /1/!!0~ -- - . - - ---
              3/12/2003                                                                                  11/10/2004                                            ~~(!_V~RNON ~LY!) REZONING*.                                 0.9    020087ZMQ
118 NICHOLAS AVE REZONING •                           12.1    020188ZMR       #29 VERIZON W43RD ST REZONING•                              1.0 040249ZMM              NotMtoM                                                0.9
        MtoR                                        . 12.1                        _         ~ .to~ __                        ..           1.0                                         8/16/2006
                 4/30/2003                                                    _1130__ "..~~1_20.~ ~47T_H:'i_Y.48_!HJIS_•                  2.6- 040250ZMM       1151 SILVERCUP WEST* ..                                      7.4 U50323ZMQ
                                                     13.5, 030194AZMK                       MtoM                                          2.6
#9 PARK  SLOPEREZONING
- - . - -- . . -- - -- -~- -       --                                                                    12/15/2004
                                                                                                                                                                        MtoMU                                               7.4
        MtoC                                         13.0.                                                                                                                            9/13/2006
        MtoR                                          0.5                    J3_1 ~~:1:Clfr_Q_wER f~QJE~T •                               4.1    00l2152MI(    115l l_RIBECA BORTH REZONIN.§..'.'__                         3.7 040543ZMM
                   6/24/2003                                                       Mio MU                                                 4.1                          MUtoC                                                3.7
                                                                                                          1/19/2005
---··----
      MtoR
              --- _...,._
1110 EASTHARLEMREZONING                               1.7 030234AZMM
                                                      L7                     1132 I-IUD~"!_YAR!)~                                       71.9.OOJ499AZMM
                                                                                                                                                                                     10/25/2006
                                                                                                                                                               1153 NEW STAPLETON WATERFRONTDEV 44.8                               060471ZMR
                                                                                            MtoC                                        60.2
                                                                                                                                                                       .- _,     ,.       -- ~- ~·- ~-· ---··--
                   8/19/2003                                                                                                                                           MtoC                                                44.8
nu BRIDGEPIAZA REZONING
        ~   --·    &           -
                                                            10.0 020263ZMK                  MtoR                                        11.6                                         2/28/2007
                                                             7.8                                 3/9/2005                                                     1151 VyEO~ .S! P_ROLE.£1 •                                    1.9 000104ZMM
 --·-· MtoR            ..........  --
                                   ....-..·--·--· --· ···-
                                                           , 2.2             #33 KEW GARDENS-RICHMOND HILL
                                                                             - ---          ~-
                                                                                    - ..... .,,. - ,.. - -· --                -         33.6     0501S3ZMQ             MtoC                                                 1.9
 1112 HUDSON SQUARE REZONING ____ _ 4.8 030BllMM                                   MtoR
                                                                                             -···- .
                                                                             1134 PORT MORRIS/BRUCKNER BLVD
                                                                                                                     -----              33.6
                                                                                                                                        36.1     050120ZMX
                                                                                                                                                                                     3/28/2007

--      MtoC
                   --       ---- --                          4.8
                                                                                            ~~Ml! _ -                                   35.4
                                                                                                                                                              1155 _CARROLL ST*                                             O.1: 060018ZMK
1113 MORRISANIAAREA REZONING
        MtoMU
                          ' ..      -     -                 26.3 0303332MX
                                                            25.3                            NotMtoMU                                      0.7
                                                                                                                                                                       MtoR
                                                                                                                                                                                     6/15/2007
                                                                                                                                                                                                                            0.1·
-·- -------- .. - .. -
                                                                                                          3/23/2005
-- _NotMtoMU_ -- ---                                         LO                                                                                               #5? E_t-!_~~EM_~~T.~!QRAGEfA<;_l~ffyt_ 3.0 070235ZMM
                                                                             #32 ~(I.YJ!l_p§EREZ9N!!!G                                   1.1 050134AZMK
1114 'N,~~I_N<,,JON ~-~~ • ..                         2.8     030213ZMX                                                                                                Not MtoM                                             3.0,
        MtoC                                          2.8                                   MtoR                                         1.1                                         7/25/2007
               9/30/2003
                                                                                                          5{11/2005                                           /157 Arv&G WATtRPROOFING II •                                 0.3, 06054SZMJC
                                                                             _1136_GREENPOINT-WILLIAMSBURG _                           306.6 050111AZMK
1115 CITY ISLAND REZONING
      MtoC
                                                     _1.; 030467ZMX
                                                      1.2                              __M to~-           __ _                          26.1                       - -- .... -
                                                                                                                                                                       Not M to M
                                                                                                                                                                                             --     ·-----
                                                                                                                                                              ~ ?.._Q'!'_K_E:~!:'E~f!TS/Fl_'_HA~!LTON__ _
                                                                                                                                                                                                                            0.31
                                                                                                                                                                                                                            5.8    070l87ZMK
                                                                             ..             MtoMU             ..      ____        .. _ 105.1                         MtoM                                                   1.3'
       MtoR                                           0.1
                  11/19/2003                                                 . _ MJO.!l... .. _..... .                                  77.9                           IY.1_!~ - . ... - -~ - .....                        4.5
                                                                                            MU to MU                                    45.2"                 1159 FORT GREENEfCUNTON Hill _                               7.6 070430ZMK
_l!!§___ARVE~E -~~ t                                  3.0 030510ZMQ
                                                                                            MU to R                                   I 48.2
         MtoR                                         3.0                              --             ~    -- --                                              ·-       MtoR      -•-
                                                                                                                                                                                                                           7.6'
                                                                                            NotMtoMU                                     4.1:                 1100 WAKEFIELDJEASTCHESTER .•                                3.9. 070I09ZMX
                   12/3/2003
                                                                                                          6/8/2005                                                     M toR                                               3.9
1!1-2 J_l~/~0~1:f.E~_ST_~!~J~½!:JQ t __ __l O,01              020636ZMR
                                                                             1137 , LOGAN STREEl REZONING *                              ~-9: 040389ZMK
       M~R                                j o.m                                                                                                                                      9/10/2007
                  3/10/2004
                                                                                            MtoR                                         09                   U61 THE JAMAICA PIAN t                                      126.2 070314AZMQ
                                                                                                         6/23/200S                                            ___ MtoC      ____ _
liJ!l _2-10 WESTEN DAVE •                             1.6 030214ZMM
                                                                                                                                        32.4'0S0161AZMM
                                                                                                                                                                                                                           30.6'
                                                                             ~38 ~CHEL?EA/HIGH LINE _
       MtoC                                           16                                                                                                            __ MtoM __ --· -----~-·- -79.0
                                                                                           ~JOC _                                       26.7 1                         MtoR _ __ _  _         16.4!
                   5/5/2004
                                                                                           MUtoC                                         5.7                           NotMtoM                                             0.2
_
I I~ .~Q~-~!.R~:'?.~J~G ~ .....                      0. 5     030289ZMK
                                                                                                         7/27/2005                                                               10/17/2007
       MtoR                                          0.5
                                                                             #39 E. FLUSHING REZONING                                    3.0     0502mMQ
                  6/21/2004                                                        -       ---·    ---     ----~- -- .                                        !~ BAY ~1-~ ~-~!~ED !§~~~ *                                  7.3     060353ZMK
                                                                                           MtoR                                          3.0
#20 _AM & GWATERPROOFING * _                         1.6      040124ZMK                                                                                                MloC ·--·--··                        _     __ _I    7} .
                                                                                                      9/28/2005                                               1163 IS,~~~_!~~~~•- ______                                   O.S     040161ZMK
       NotMtoM                                       16
                                                                             1140 COLLEGE POINTREZONING                                 7.2• 050482Z MQ
                  6/28/2004                                                                                                                                           MtoR                                                 0.5
1121 DOWNTOWN BKLYN DEVELOPMENT· 3.3                          040171ZMK      ---· -·MtoM
                                                                                      - ..-,
                                                                                                                                        0.6
                                                                                           MtoR                                         6.7
       M~C                                           ~f
                                                                                           10/11/2005
                                                                             1141 764 E176TH STREET •                                   0.8      0_
                                                                                                                                                  30370ZMX          • Rezoning by private appllc3nt
                                                                             ___ MtoR __ ··-·- _ -·---- _                               O.?                         t Rezoning by city age_ncy excluding DCP
                                                                             U42 _FAR WEST VILLAGE ________                             1.s· 060006ZMM                                                                                       1592
                                                                                           M~C                                          U
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                     10/29/2007              Acres    ULURP No,                                  11/13/2008                Acres ULURP No.                  7/29/2010                           Acres ULURP No.
 !16=' 1~_S,YM~TST~~E~•                        0.4    0604mMK      #86 lj_UNTER_5 p91NT_?O t                                28.7 080362ZMQ      #106 35THAVEREZONING•                             2.0 0302232MQ
       MtoR                                    0.4                       GPP                                                21.4                     MtoR                                         2.0
 1165 B~DFf)RD-STUyvESANT SO                   7.4    07044nMK           MtoR                                                7.4               #107_~ .TH ST-CORONA AVE*                          5,5 0SOS22ZMQ
       MtoC                                    3.3                 ~~7 Vl![LL~ PI p~v_P½N t                                 46. 3 080381ZMQ           MtoR                                        S.S.
        MtoMU                                   3.0                        MtoC                                             46.3               #108 THE NEW DOMINO*                              11.2 100185ZMK
        MtoR                                    u                                                12/9/2008                                            MtoC                                        3.4:
                     12/19/2007                                                   . *
                                                                   1188. WATERPOINTE
                                                                         .                                                 11.2 0802032MQ             MtoR                                        7.8
 116? SPE~ MANHATTANVILLE !)l?T_*             23.1 070495ZMM              MtoR                                             11.2                                  9/16/2010
       MtoC                                   18,0                              12/18/2008                                                     11109
                                                                                                                                               . .... HOUR.. CHILDREN
                                                                                                                                                         ~   ..      .. •    ~
                                                                                                                                                                                                  3,2, 100145ZMQ
       MtoM                                    4.1                 II~ VJAVER!)~/THE_GREE~ WAYt                             3.0   08051nMX            MtoR                                        3.2
       MtoR                                    1.0                       MtoC                                               3.0                                 10/13/2010
                      1/9/2008                                                    3/11/2009                                                    #110 3500PARKAVENUE*
                                                                                                                                                      -   .. . -..               0.4 080129ZMX
 ff67 ASTORIA STUDIO APTS •                    1.4    050491ZMQ    ll90 363-365 BOND STREET*                                3,9   09004nMK            MtoR                       0.4·
                                                                         - .-           -
       MtoC                                    1.4                       MtoMU                                              3.9                #111 NOJTH TRl~ECA ~~ONIN_G      27.6 100369ZMM
                     1/30/2008                                                    4/22/2009                                                         MUtoC                       27.6
 tt68 TUCK-IT-AWAY *                           0.4 060215ZWM       1191 354 CLARKSON AVE t                                  2.3   0703962MK    #112 lHIRDAV-TREMONT AV CORRIOOO 19.2 10040nMX
       MtoC                                    0.4,
                                                                   . ·-- -
                                                                         MtoR
                                                                                     .-          -                                                  MWC                          U
                                                                                                                            2.3
                     2/27/2008                                                    5/20/2009                                                           M.t<?~U. .                                  8._
                                                                                                                                                                                                    3
 /16~ D~ILL_RD_*                               1.4 050236ZMK       1192 THE CLINTON PARK*                                   2,2 OSOOJSZMM             NotMtoMU                                    9.2
      MtoC                                     1.4                       MtoC                                               2.2                                10/27/2010
            3/12/2008                                                            6/10/2009                                                     #113 . CULVER .EL.                                15.8 100345ZMK
 #7Q ~A~~BOUTSTRsEJ ~g9~l!JG •-                2.0    0603mMK      1193 DOCK STREET DUMBO •                                 1.1   090181ZMK           ~!q_~                                       1.9'
       Mto R                                   2.0                       MtoMU                                              1.1                       MtoM                                        0.5'
                     3/26/2008                                                   6/30/2009                                                            MtoMU                                      11.1
~~f!l~TRIV~RR_EA~l)'-~(?. *                    8.7, 070522ZMM      ~ -L(?~~-R£0N~OlJ.RSE_                                  68.7   090303ZMX           MtoR                                        2.3
      ~~c                                      1.6 & 070529ZMM             fv! ~ C_                                        25.4                                3/23/2011
       MtoC                                    7.0                         MtoM                                             7.1               #114 WYTHE
                                                                                                                                                      . . ... AVE REZONING*
                                                                                                                                                                 ~    .   ..                      1.2    070245ZMK
                     4/16/2008                                             MtoMU                                           20.3                     MtoMU                                         1.2
 #7Lc_Q':_U~Bl~_~ICK? PROJ _t                  2.4 080116ZMK               MtoR                                            10.0                                 4/6/2011
                                               2.4                         NotMto MU                                        5.9               #115 CLINTON COMMONS*                               0.4 ll0125ZMM
       Mto R _ .•..•....•.                                                                                                                    ---~   . • · - ··---
Jl.73 RElfR_EO_CRQ?-5 REZO_Nlt"G •             1.5 070289ZMM                          7/29/2009                                                     MtoR                                          0.4
       M(E_!l_
#74 ROSCOE CBROWNEJRAPTS t
                            -                  1.5
                                               1.2 080233ZMX
                                                                     --
                                                                    #95
                                                                     -
                                                                          DUMBO
                                                                           MtoMU
                                                                                 ---
                                                                           . - REZONING
                                                                                    .......                 14.4 0903J02MK
                                                                                                            14.4
                                                                                                                                                               4/29/2011
                                                                                                                                                                                                  0.3    110118ZMK
 - ·- -.~-- .    -   --          - ..   -.                             -   • •   •     ... . .       •••H   •••   ~   ••
                                                                                                                                              #116 20-]9~RR<;m~rnEr~EZONING
       MtoR                                    1.2-                 #96 MI_DD~E Vl LLAG¥/GLEf:!~ALE/MASPEl 9.0 090382ZMQ                        __ !_Vito_~ ___                                   0.3
                     4/30/2008                                             MtoR                               8.7                             #117 .....
                                                                                                                                                    CARROLL STREET
                                                                                                                                                             ~ -
                                                                                                                                                             ~
                                                                                                                                                                   REZONING•                      0,3    090225ZMK
#l?. !251.:~~T_fO~RIQOR_t                      1.6 080099AZMM
                                                                      --   MU to R
                                                                              -· -     --·----                0.3                                   MtoR                                          0.3
       MtoC                                    15·                  1197_ SPE_
                                                                             C~OLLEGE PTDISTt             295.8 090319ZMQ                                   5/11/2011
II?~ JA!-'.!~S J. LYONS lJ~P_t                 0.1    080128ZMX            MtoM                            295.8.                             #~~~ S.SJ\J.TI:l JAM!\ICA                          1.2 l10145ZMQ
_ _ Mto__R       .                             0.1                                    9/30/2009                                                    -~to_~_    ..          _                      1.2
1177 WATKINSSTCOOPSt                           1,1    080141ZMK    #~ ~7_   qVA!:_JD_
                                                                                    ER~l~TA\'.E~.             2. 5 0904412MK                  #119 !!~ION ~VENU~~E?SJ~l~G *_                     3,3 100118ZMR
      MtoR                                     1.1                         MtoC                              f-~·                                   MtoR                                         3.3
              6/29/2008                                            1199 NAVY GREEN t                          2,5 090444ZMK                                 6/14/2011
#78 84 WHITE ST*                               2.1 0600322MM               MtoR                               2.5                             #120 WEST CLINTON REZONING                        37.1 110lmMM
      MtoC                                     2.1                                  10/14/2009                                                     MtoM                                         25.4
               7/1/2008                                            l/100 ON THE SOUND ON CITYISLANO *        5.5 060288ZMX                         MtoR                                         11.7
1179 COLLEGE POINT-14TH AVE.- •               1.7 070174ZMQ                MtoR                              5.5                                           6/29/2011
      MtoR                                    1.7                                    12/9/2009                                                _#_121_!3...5:P.!,.135-(!l NO_RTHER!:_J_BL~D •     0.2 070210ZMQ
              7/23/2008                                           .tt10~ ~.!~~ST*                            1.3 oroJ39ZMM                           MtoR                                        0.2
1180 HUDSON SQ NORTH *                         1.3 070575ZMM               MtoR                              1.3                                                   7/28/2011
      MtoMU                                    1.3                                  12/21/2009                                                 #122 SUNNYSIDE-WOODSIDE                           1.4 11020nMQ
#81 HUNTS POINT SPECIALDIST                  170.1' 080248ZMX      u1q2 B~_QADWAYTf!~~GLE~RA t              16,9 090413ZMK                           MtoR                                        1.4
      MtoM                                   169.9'.                                                         0.9,                                            9/21/2011
                                               0.2,                       MtoR __ .• -~ __               ' 16.0                                #123 BRqOKL~N BAYC~~I!'R ~                        8.5 U0047ZMK
1182 ST ANN'S AVEDEV *                         3.2 050018ZMX      #103 WESTERN RAIL YARDS• .. • • •. 13.0' 0904332MM                          .•. __ MtoM ..          ..                         8.5
      MtoR                                     3.2                        MWC                              13~                                #_!24 ~T28_1:t:i~!RE_
                                                                                                                                                                  ET*                            5,6' 100063ZMM
                 8/14/2008                                                           3/3/2010                                                       MtoMU                                      • 5.6
118i._~~~AY NEl~H~ORHOO_pS                    6.9 080371ZMQ       #1~ "!_~TH_g & 11!}! !'VE t                1.7 100'.lSlZMM                               10/5/2011
     NotMtoM                                  6.9                         MtoR                               1.7,                             #125 CROTONAPARKE/WFARM*_                         17,8 100310ZMX
                 10/7/2008                                                          4/14/2010                                                      MtoR                                         17.8
1184. DUTCH KILLS t .. .. __          75.7 080429ZMQ              #105 ROSE PLAZA ON THE RIVER•              3.9 080339ZMK                                11/29/2011
                                       7.0                                MtoR                               3.9                              #126 ADMIRALS ROW PLAZA *                        , 7.4     110382ZMK
  __ Mto MU _ _ __ _ __ ··-·-·
___ MUtoM _____ _                   L 3.8
                                                                                                                                               -----· -----
                                                                                                                                                   MtoM
                                                                                                                                                                      -•·
                                                                                                                                                                                                 7.4
 · - MUtoMU __ .           _______ _I 65.0
1185 El~ST~iY.!                     t 3,3 000333ZMM

       MtoC                            3.3                                                                                                     • Re~oning by private applicant
                                                                                                                                               t Rezoning by city age_ncyexcluding OCP
                                                                                                                                                                                                              1593
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SCLAR DECLARATION

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                                •   Rezonings, January 2002-September 2018
N

f   O   2.5   5   7.5   10 km
                                                     Data Source: NYC Department of City Planning, 2018
                                                                                                          1595
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SCLAR DECLARATION

                 EXHIBIT 7




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                     Table 1: Adopted Rezonings Involving a
                     Conversion from Manufacturing Uses,
                     January 2002-September 2018



  Date                        LUCATS
Adopted      ULURP No.          ID                   Project Name
1/30/02       010725zmk        10725         LIGHT BRIDGES REZONING
1/30/02       020047zmk        20047             RED HOOK STORES
3/25/02       000539zmk         539          HARBOR TECH-5 DELEVAN
7/24/02      020463zmm         20463                CLINTON URA
12/18/02      000087zmk          87          DOMSEY & GLANTZ SITES
1/29/03      020216zmm         20216                 GATEWAY II
3/12/03       020188zmr        20188         NICHOLAS AVE REZONING
4/30/03      030194azmk       030194a         PARK SLOPE REZONING
6/24/03      030234azmm       030234a        EAST HARLEM REZONING
8/19/03       030213zmx        30213            WASHINGTON PLAZA
8/19/03       030333zmx        30333       MORRISANIA AREA REZONING
8/19/03      030237zmm         30237       HUDSON SQUARE REZONING
8/19/03       020263zmk        20263         BRIDGE PLAZA REZONING
9/30/03       030467zmx        30467          CITY ISLAND REZONING
11/19/03      030510zmq        30510                ARVERNE URA
                                            SIBP REZONING/SOUTHEAST
12/3/03       020636zmr        20636                 MID-ISLAND
3/10/04       030214zmm        30214             2-10 WEST END AVE
 5/5/04       030289zmk        30289             GOLD ST REZONING
                                                DOWNTOWN BKLYN
6/28/04       040171zmk        40171               DEVELOPMENT
7/21/04       040021zmm        40021         LAFAYETTE ST REZONING
7/21/04       030294zmk        30294              FRANKLIN LOFTS
8/12/04       040331zmm        40331          LADIES MILE REZONING
8/12/04       030449zmr        30449           TIDES AT CHARLESTON
                                           HUNTERS POINT SUBDISTRICT
8/12/04       040273zmq        40273                  REZONING
                                           226 FRANKLIN & 98 FREEMAN
9/28/04       010384zmk        10384                     STS




                                                                              1597
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11/10/04     040249zmm         40249       VERIZON W43RD ST REZONING
12/15/04      040215zmk        40215           WATCHTOWER PROJECT
1/19/05      040499azmm       040499a               HUDSON YARDS
                                          PORT MORRIS/BRUCKNER BLVD
 3/9/05       050120zmx        50120                  REZONING
 3/9/05       050153zmq        50153      KEW GARDENS-RICHMOND HILL
3/23/05      050134azmk       050134a           BAY RIDGE REZONING
5/11/05      050111azmk       050111a      GREENPOINT-WILLIAMSBURG
 6/8/05       040389zmk        40389         LOGAN STREET REZONING
6/23/05      050162azmm       050162a        WEST CHELSEA/HIGH LINE
7/27/05       050277zmq        50277           E. FLUSHING REZONING
9/28/05       050482zmq        50482         COLLEGE POINT REZONING
10/11/05     060006zmm         60006             FAR WEST VILLAGE
10/11/05      030370zmx        30370              764 E176TH STREET
                                               BX TERMINAL MARKET
 2/1/06       050529zmx        50529              GATEWAY CENTER
                                          WESTCHESTER SQUARE-ZEREGA
3/22/06       060180zmx        60180                  REZONING
4/26/06       060210zmm        60210            MADISON PARK WEST
6/13/06       020518zmk        20518                KEDEM WINERY
6/29/06       060294zmq        60294            MASPETH-WOODSIDE
7/19/06       060214zmx        60214          VAN CORTLANDT CENTER
                                          PELHAM PKWY/INDIAN VILLAGE
7/19/06       060335zmx        60335                  REZONING
8/16/06       060323zmq        60323               SILVERCUP WEST
9/13/06       040543zmm        40543         TRIBECA NORTH REZONING
                                          NEW STAPLETON WATERFRONT
10/25/06      060471zmr        60471                     DEV
2/28/07       060104zmm        60104              W60TH ST PROJECT
3/28/07       060018zmk        60018                 CARROLL ST
                                           DYKER HEIGHTS/FT HAMILTON
7/25/07       070387zmk        70387                  REZONING
                                             WAKEFIELD/EASTCHESTER
7/25/07       070409zmx        70409                  REZONING
7/25/07       070430zmk        70430        FORT GREENE/CLINTON HILL
9/10/07       070314azmq      070314a            THE JAMAICA PLAN
10/17/07      060353zmk        60353         BAY RIDGE MIXED USE DEV
10/17/07      040161zmk        40161               KINGS MATERIAL



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10/29/07      070447zmk        70447        BEDFORD-STUYVESANT SO
10/29/07      060477zmk        60477              45 SUMMIT STREET
12/19/07     070495zmm         70495       SPEC MANHATTANVILLE DIST
 1/9/08       050491zmq        50491           ASTORIA STUDIO APTS
1/30/08      060225zmm         60225                TUCK-IT-AWAY
2/27/08       050236zmk        50236                   DAHILL RD
3/12/08       060377zmk        60377      WALLABOUT STREET REZONING
3/26/08      070522zmm         70522          EAST RIVER REALTY CO.
3/26/08      070529zmm         70529          EAST RIVER REALTY CO.
4/16/08       080116zmk        80116           COLUMBIA HICKS PROJ
4/16/08      070289zmm         70289         REI/RED CROSS REZONING
4/16/08       080233zmx        80233        ROSCOE C BROWNE JR APTS
4/30/08       080128zmx        80128             JAMES J. LYONS URP
4/30/08      080099azmm       080099a            125TH ST CORRIDOR
4/30/08       080141zmk        80141             WATKINS ST COOPS
6/29/08      060032zmm         60032                  84 WHITE ST
 7/1/08       070174zmq        70174         COLLEGE POINT-14TH AVE
7/23/08       080248zmx        80248        HUNTS POINT SPECIAL DIST
7/23/08       050018zmx        50018               ST ANN'S AVE DEV
7/23/08      070575zmm         70575                HUDSON SQ NO
10/7/08       080429zmq        80429                  DUTCH KILLS
10/7/08      080333zmm         80333                 E125TH ST DEV
11/13/08      080362zmq        80362              HUNTERS POINT SO
11/13/08      080381zmq        80381           WILLETS PT DEV PLAN
12/9/08       080203zmq        80203                 WATERPOINTE
12/18/08      080517zmx        80517        VIA VERDE/THE GREEN WAY
3/11/09       090047zmk        90047            363-365 BOND STREET
4/22/09       070396zmk        70396              354 CLARKSON AVE
5/20/09      080008zmm         80008             THE CLINTON PARK
6/10/09       090181zmk        90181           DOCK STREET DUMBO
6/30/09       090303zmx        90303             LOWER CONCOURSE
7/29/09       090310zmk        90310              DUMBO REZONING
                                                        MIDDLE
7/29/09       090382zmq        90382      VILLAGE/GLENDALE/MASPETH
9/30/09       090441zmk        90441            470 VANDERBILT AVE
9/30/09       090444zmk        90444                  NAVY GREEN
9/30/09       090444zmk        90444                  NAVY GREEN




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10/14/09      060288zmx        60288      ON THE SOUND ON CITY ISLAND
12/9/09       080039zmm        80039                  W129TH ST
12/21/09      090433zmm        90433           WESTERN RAIL YARDS
12/21/09      090413zmk        90413        BROADWAY TRIANGLE URA
 3/3/10       100051zmm        100051           W44TH ST & 11TH AVE
4/14/10       080339zmk        80339         ROSE PLAZA ON THE RIVER
7/29/10       050522zmq        50522            94TH ST-CORONA AVE
7/29/10       100185zmk        100185             THE NEW DOMINO
7/29/10       030223zmq        30223             35TH AVE REZONING
9/16/10       100145zmq        100145              HOUR CHILDREN
10/13/10      100369zmm        100369        NORTH TRIBECA REZONING
                                             THIRD AVE-TREMONT AVE
10/13/10      100407zmx        100407                 CORRIDORS
10/13/10      080129zmx        80129              3500 PARK AVENUE
10/27/10      100345zmk        100345                 CULVER EL
3/23/11       070245zmk        70245           WYTHE AVE REZONING
 4/6/11       110125zmm        110125            CLINTON COMMONS
                                               20-30 CARROLL STREET
4/29/11       110118zmk        110118                 REZONING
4/29/11       090225zmk        90225        CARROLL STREET REZONING
5/11/11       110145zmq        110145              SOUTH JAMAICA
5/11/11       100118zmr        100118        UNION AVENUE REZONING
6/14/11       110177zmm        110177        WEST CLINTON REZONING
6/29/11       070210zmq        70210       135-01, 135-09 NORTHERN BLVD
7/28/11       110207zmq        110207          SUNNYSIDE-WOODSIDE
9/21/11       100063zmm        100063             WEST 28TH STREET
10/5/11       100310zmx        100310        CROTONA PARK E/W FARM
7/25/12       120195zmq        120195      WOODHAVEN-RICHMOND HILL
9/12/12       110218zmr        110218          VETERANS ROAD WEST
9/12/12       100041zmk        100041      59 WALTON STREET REZONING
9/12/12       110390zmk        110390           WALLABOUT STREET
                                             MCGUINNESS BOULEVARD
12/10/12      100218zmk        100218                 REZONING
 2/6/13       120396zmm        120396          DURST W 57TH STREET
2/27/13       090154zmk        90154             MAPLE LANE VIEWS
                                              AVERY & FOWLER AVES
3/13/13       070352zmq        70352                  REZONING
5/22/13       130064zmx        130064     580 GERARD AVENUE REZONING


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9/12/13       130120zmy        130120           RIVER PLAZA REZONING
10/9/13       090484zmq        90484          HALLETS POINT REZONING
10/9/13       130214zmm        130214                  MSK CUNY
                                               CHARLESTON MIXED USE
10/30/13      130279zmr        130279                DEVELOPMENT
10/30/13      130374zmk        130374             LIVONIA COMMONS
12/10/13      080322zmk        80322             RHEINGOLD REZONING
12/10/13      140079zmq        140079           OZONE PARK REZONING
                                             TF CORNERSTONE-606 WEST
5/14/14       130336zmm        130336                 57TH STREET
6/26/14       140181zmm        140181                     SITE 7
7/24/14       140275zmq        140275       11-55 49TH AVENUE REZONING
                                              18-70 WOODWARD AVENUE
8/21/14       140111zmq        140111                   REZONING
11/25/14      140322zmq        140322                ASTORIA COVE
12/17/14      110122zmr        110122        SOLLAZZO PLAZA REZONING
1/19/16       160002zmk        160002            VAN SINDEREN PLAZA
                                            EAST NEW YORK COMMUNITY
4/20/16       160035zmk        160035                      PLAN
9/14/16       160267zmx        160267                 LA CENTRAL
                                            550 WASHINGTON ST- SPECIAL
12/15/16      160309zmm        160309      HUDSON RIVER PARK DISTRICT
5/10/17       160221zmk        160221          ROSE CASTLE REZONING
5/24/17       170140zmx        170140              600 E 156TH STREET
7/20/17       150402zmr        150402           125 EDGEWATER STREET
                                           WHITLOCK AND 165TH STREET -
7/20/17       170087zmx        170087                   REZONING
 9/7/17       170189zmk        170189        EBENEZER PLAZA REZONING
                                            DOWNTOWN FAR ROCKAWAY
 9/7/17       170243azmq      170243a                   REZONING
                                               126TH STREET BUS DEPOT
9/27/17       170275zmm        170275                    PROJECT
                                             LOWER CONCOURSE NORTH
10/17/17      170311zmx       170311                    REZONING
10/17/17      170180azmq      170180a         135-01 35TH AVE REZONING
10/31/17      150278zmk       150278            PFIZER SITES REZONING
                                           EAST HARLEM NEIGHBORHOOD
11/30/17      170358zmm        170358                   REZONING



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                                               723-733 MYRTLE AVENUE
11/30/17      170025zmk        170025                   REZONING
                                           EAST HARLEM NEIGHBORHOOD
11/30/17      170358zmm        170358                   REZONING
                                              1776 EASTCHESTER ROAD -
12/19/17      170445zmx       170445        MONTEFIORE STAFF HOUSING
1/31/18       170356zmk       170356       587 BERGEN STREET REZONING
3/22/18       180051azmx      180051a        JEROME AVENUE REZONING
 6/7/18       180088zmx       180088        WILLOW AVENUE REZONING
                                           601 WEST 29TH STREET (BLOCK
6/28/18       180127zmm        180127             675 - DOUGLASTON)
                                           606 WEST 30TH STREET (BLOCK
6/28/18      180150zmm        180150               675 - LALEZARIAN)
 8/8/18      180204azmm       180204a             INWOOD REZONING
9/12/18       170164zmk       170164        205 PARK AVENUE REZONING
                                                1601 DE KALB AVENUE
9/12/18       180148zmk        180148                   REZONING
9/12/18       170047zmk        170047     55-63 SUMMIT STREET REZONING




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                                                                              1602
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                 EXHIBIT 8




                                                                   1603
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             Table 2: Certified Rezonings Involving a
             Conversion from Manufacturing Uses as of
             September 2018



             ULURP    LUCATS
 Status        No.      ID                 Project Name
Certified   160251zmx 160251          147 STREET REZONING
Certified   180083zmx 180083         241ST STREET REZONING
                                  606 WEST 30TH STREET (BLOCK
Certified 180150zmm     180150          675 - LALEZARIAN)
                                    69-02 QUEENS BOULEVARD
Certified   180265zmq   180265          REZONING & LSGD
Certified   180186zmk   180186     3901 9TH AVENUE REZONING
                                      895 BEDFORD AVENUE
Certified   180229zmk   180229               REZONING




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SCLAR DECLARATION

                 EXHIBIT 9




                                                                   1605
The Neighborhoods                                       Case 1:02-cv-08333-LJL Document 72 Filed 11/21/18 Page 52 of 129


Click on a neighborhood to get news, documents, opinions and videos about_that community.                                                                 Rezoning Status
                    ,._ _ Lt __ .J


                                                                                                    Port Chester
          Map               Satellite                                                                                                                         Bay Street
                                                 Rid~ewood
                                                                                              Harri.son
        Key
        e Proposal Antjcip-ated
                                                            1rumus
                                                                           Yonkers
                                                                                                                                                          e Bushwick
                                                                     -
                                                                     • I             New Rochelle
           ProposaJin Approval Process
                                                             Hackensack                                                                                   • Chinatown
  e Proposal Approved
11 y
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s
  e Proposal Defeated or Vl/ithdrawn
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          Livingston                                                                                                                          Melvllle    •   East Harlem
                                                                                                                         Hicksvjlle

                                           Newark
                                                                                                          M!neoln                                         e East New York
                                                                                                          Garden Ci1y     Levinown
       Summit
                           Union                                                                           Hem pstead
                                                                                                                                  ,.....     Amltyvillt
                                                                                                                                                          e Flushing West
                                   Elizabeth                                                 Valley Stream

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                                            STATEM ISLAND
                                                                                                     Lorig Beach
                                                                                                                                                          e Inwood
                Wooclbridge
                 TmNnship                                                                                                                     +           e Jerome Avenue
;on
                  Perth Amboy                                                                                                                 -
                                                                                                             !<Mp data @2018 Google Timns of usa
                                                                                                                                                          e Long Island City
                                                                                                                                                          e Southern Boulevard


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SCLAR DECLARATION

                EXHIBIT 10




                                                                   1607
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 PLANNING

  City Planning History




View of Lower Manhattan Skyline from Brooklyn, ca. 1961
Since adoption of the country's first Zoning Resolution in 1916, New York City has played a seminal role in the history
and development of planning and zoning. This rich history is captured through decades of planning reports, land use
maps and historic photographs documenting a changing urban landscape. Many of these documents serve as a critical
resource for the Department, for the City and for the planning profession.
 History of the CitY. Planning Commission

New York City has been a pioneer in the development of urban planning in the United States; the nation's first
comprehensive zoning resolution was enacted by the city in 1916. But it was not until 20 years later that New Yorkers
voted to approve a new City Charter that established the City Planning Commission and gave it the responsibility to
prepare plans and to draft and approve amendments to the Zoning Resolution.

Shortly after the turn of the century, the drive to establish a permanent planning agency in New York City was led by
two advocates of municipal reform , George McAneny and Edward M. Bassett. McAneny had been elected Manhattan
Borough President in 1909; he was president of the City Club and chairman of its Committee on City Planning. Bassett,
a lawyer and a former congressman, was appointed to the Public Service Commission in 1907 and played an important
part in planning for the city's expanding subway system.

In 1912, at the urging of the Fifth Avenue Association, whose members were concerned about congestion and declining
land values, McAneny submitted a report to the Board of Estimate, formally known as the Board of Estimate and
Apportionment, calling for more extensive building controls. The board, a quasi-legislative body consisting of the Mayor,
Borough Presidents, Comptroller and, what is known today as the City Council President, did not act on it.

One year later, however, the Board of Estimate appointed a Committee on City Planning to make recommendations on
possible Iimitations on the heights of buildings and selected McAneny to be its chairman.

The Committee on City Planning issued its report in 1914 and recommended the creation of a permanent city planning
agency. The appendix of the report contained the draft of a bill (passed by the state legislature later that year) which

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 gave the Board of Estimate the power to regulate heights and uses of buildings.

 Another committee, under Bassett's leadership, was appointed to gather data necessary to evolve a coherent plan of
 land use districting. This committee's report formed the basis for the landmark 1916 Zoning Resolution, which reflected
 borough and local interests (Bassett and McAneny had carefully crafted the resolution to win their support). The
 resolution regulated the heights of buildings and divided the city into districts by land use. However, no agency was
 created to administer the new zoning law. The Chief Engineer of the Board of Estimate advised the Board on zoning
 amendments.

 In 1926, Mayor James J. Walker appointed a Committee on Plan and Survey to study planning in New York and to draft
 a bill that would create a planning agency. The committee was composed of distinguished New Yorkers including
 McAneny, Bassett, Herbert Lehman, and Nicholas Murray Butler. In 1928 the committee proposed the creation of a City
 Planning Commission with jurisdiction over the city's physical development. Bassett drafted an amendment to the City
 Charter intended to create a City Planning Commission. However, the bill died In the state legislature.

 Business associations, the newspapers, the Real Estate Board, the East Side Chamber of Commerce, and influential
 New Yorkers continued to press for a planning body. Mayor Walker sponsored a bill to create a planning department-
 with power over zoning-headed by a single commissioner. Local Law No. 16 was signed by Mayor Walker on July 17,
 1930, after it had passed the Board of Estimate by a slim majority.

 However, the new agency was ineffective as It had no real authority. When the depression dictated budget cuts, the
 department was abolished on February 1, 1933 for reasons of economy.

 When Fiorello H. LaGuardia became mayor in 1934, he promised to establish a new planning agency. A commission to
 revise the City Charter was formed in 1935, with proposed revisions subject to vote by the electorate, and the mayor
 had his opportunity.

 Public hearings on the proposed new charter began in May, 1936. LaGuardia and Bassett spoke in favor of a planning
 body. Ironically, George McAneny said that a planning agency should be advisory, with no zoning authority. The
planning commission was opposed by some elected officials and others, including the Bronx Board of Trade, the Bronx
and Queens Chambers of Commerce, and various Staten Island groups. The planning body was endorsed by the
Citizens Union, the Regional Plan Association, the City Club, the Merchants Association, and the League of Women
Voters.

The struggle for and against the charter went on into the fall . The planning commission proposal remained intact but
faded into the background as other segments of the new charter took center stage in the discussions. In November,
New Yorkers voted to adopt the new City Charter by nearly 65% approval.

The establishment of the City Planning Commission provided the structure for comprehensive planning in New York
City, replacing a haphazard planning and zoning system that functioned principally through the interaction of interest
groups and political forces. For the first time New York had a professional agency with a single purpose: to serve the
people of New York by planning for the entire city.

Mayor LaGuardia selected Adolph A. Berle to be the first chairman of the City Planning Commission. He was replaced
several months later by Rexford Tugwell, formerly an adviser to President Franklin D. Roosevelt. Among the first group
of commissioners was Lawrence Orton of the Regional Plan Association, who served for 31 years, the longest tenure of
any commissioner.

As established by the 1936 Charter, the City Planning Commission had seven members, six appointed by the mayor
with the chief engineer of the Board of Estimate serving ex-officio as the seventh member. To ensure the political
autonomy of the commission, the six appointees-one designated by the mayor as chairman-were to serve eight-year


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 overlapping terms. In that way, a majority of members could not be appointed during a mayor's single four-year term of
 office. The chief engineer of the Board of Estimate , a career civi l servant, was not subject to appointment for a term.

 View the ~ Brooklyn Daily Eagle announcing the members of the newly formed City Planning Commission.

 The 1936 Charter also provided for the establishment of the Department of City Planning, headed by the chairman of
 the City Planning Commission and staffed with engineers, architects, experts, and other officers and employees as
 needed. Both the Commission and the Department began functioning in 1938.

 The commission did not reach full strength until 1945 when Mayor LaGuardia appointed the sixth member. The
 stipulation that the chief engineer serve ex-officio was dropped when the Charter was revised in 1963 to require that all
 seven members of the commission be appointed by the mayor. The Charter amendment of 1975 added two
 requirements: that the City Council would approve by advice and consent the six commission members-other than the
 chairman-appointed for eight-year terms, and that the commission would consist of at least one resident from each
 borough of the city.

 View the lt:1· City Planning Commissioners' terms of office from 1938-1989.

In the wake of the elimination of the Board of Estimate in 1989, a 1989 Charter amendment made effective in 1990
further altered the composition of the Commission by increasing the number of commissioners to thirteen: seven
 members appointed by the Mayor, including the Chair; one appointed by each Borough President; and one appointed
 by the Public Advocate. The Chair serves at the pleasure of the Mayor, while the other Commissioners are appointed to
staggered five year terms. However, all members shall be chosen for their independence, integrity, and civic
commitment, and the appointment of all members, other than the chair, is subject to the advice and consent of the City
Council. This is the structure of today's City Planning Commission, which reviews nearly 500 public and private
applications a year, and has, since its establishment 75 years ago, reviewed more than 25,000 land use applications,

NYC Zoning HistorY.
1916 Zoning Resolution

As early as the 1870's and 1880's, New Yorkers began to protest the loss of light and air as taller residential buildings
began to appear in Manhattan. In response , the state legislature enacted a series of height restrictions on residential
 buildings, culminating in the Tenement House Act of 1901 .

By then, New York City had become the financial center of the country and expanding businesses needed office space.
With the introduction of steel frame construction techniques and improved elevators, technical restraints that had
lim ited building height vanished . The Manhattan skyline was beginning to assume its distinctive form.

In 1915, when the 42-story Equitable Building was erected in Lower Manhattan, the need for controls on the height and
form of all buildings became clear. Rising without setbacks to its full height of 538 feet, the Equitable Building cast a
seven-acre shadow over neighboring buildings, affecting their value and setting the stage for the nation's first
comprehensive zoning resolutlon ,

Other forces were also at work during the same period. Housing shortages, caused by an influx of new immigrants,
created a market for tenements built to maximum bulk and minimum standards. Warehouses and factories began to
encroach upon the fashionable stores along Ladies' Mlle, edging uncomfortably close to Fifth Avenue. Intrusions like
these and the impacts of rapid growth added urgency to the calls of reformers for zoning restrictions separating
residential, commercial and manufacturing uses and for new and more effective height and setback controls for all
uses.




https://www1 .nyc.gov/site/plannlng/about/clty-plannlng-hlstory.page                                                        3/9 1610
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11/7/2018                                                              City Planning History - DCP

 The concept of enacting a set of laws to govern land use and bulk was revolutionary, but the time had come for the city
 to regulate its surging physical growth. The groundbreaking Zoning Resolution of 1916, though a relatively simple
 document, established height and setback controls and designated residential districts that excluded what were seen
 as incompatible uses. It fostered the iconic tall, slender towers that came to epitomize the city's business districts and
 established the familiar scale of three- to six-story residential buildings found in much of the city. The new ordinance
 became a model for urban communities throughout the United States as other growing cities found that New York's
 problems were not unique.

 But, while other cities were adopting the New York model, the model itself refused to stand still. The Zoning Resolution
was frequently amended to be responsive to major shifts in population and land use caused by a variety of factors:
continuing waves of immigration that helped to swell the city's population from five million in 1916 to over eight million in
201 0; new mass transit routes and the growth corridors they created; the emergence of technology and consequent
economic and lifestyle changes; the introduction of government housing and development programs; and, perhaps
more than anything else, the increase in automobile usage, which revolutionized land use patterns and created traffic
and parking problems never imagined in 1916.

f£1· 1916 Zoning Resolution including all amendments adopted prior to November 1, 1960 represents the final amended
version of the Zoning Resolution prior to the 1961 comprehensive amendment.

rlr 1916 Building Zone Plan
rlr 1916 Zoning Resolution
1961 Zoning Resolution

By mid-century, many of the underlying planning principles of the 1916 document no longer stood the test of time. If, for
example, the city had been built out at the density envisioned in 1916, it could have contained over 55 million people,
far beyond its realistic capacity. New theories were capturing the imaginations of pl,;mners. Le Corbusier's "tower-in-the-
park" model was influencing urban designers of the time and the concept of incentive zoning - trading additional floor
area for public amenities - began to take hold. The last, still vacant areas on the city's edges needed to be developed at
densities that recognized the new, automobile-oriented lifestyle. Also, demands to make zoning approvals simpler,
swifter and more comprehensible were a constant.

Eventually, it was evident that the original 1916 framework needed to be completely reconsidered. After lengthy study
and public debate, the current Zoning Resolution was enacted and took effect in 1961.

The    1961 Zoning Resolution (30.6 MB) was a product of its time. It coordinated use and bulk regulations,
incorporated parking requirements and emphasized the creation of open space. It introduced incentive zoning by
adding a bonus of extra floor space to encourage developers of office buildings and apartment towers to incorporate
plazas into their projects. In the city's business districts, it accommodated a new type of high-rise office building with
large, open floors 'of a consistent size. Elsewhere in the city, the 1961 Zoning Resolution dramatically reduced
residential densities, largely at the edges of the city.

Although based upon the leading planning theories of the day, aspects of those zoning policies have revealed certain
shortcomings over the years. The emphasis on open space sometimes resulted in buildings that overwhelm their
surroundings, and the open spaces created by incentive zoning provisions have not always been useful or attractive.
Urban design theories have changed as well. Today, tower-in-the-park developments, set back far from the city street,
are often viewed as isolating and contrary to the goal of creating a vibrant urban streetscape.

Time passes, land uses change, and zoning policy accommodates, anticipates and guides those changes. In a certain
sense, zoning is never final; it is renewed constantly in response to new ideas-and to new challenges.


https://www1 .nyc.gov/slte/plannlng/about/clty-plannlng-hlstory.page                                                          4/9 1611
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SCLAR DECLARATION

                EXHIBIT 11




                                                                   1612
MTA/New Yark City Transit Staten Island Railway Map
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                                                                                                              Accessibility   Text-only   • Customer Self-Service • Employment • FAQs/Contact Us
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                                 MTA Staten Island Railway (SIR)
                                 Operating 24 hours a day, the Staten Island Railway provides fast
                                 rush hour service with morning el(l)ress trains that run non•stop
                                 from New Dorp to Saint George Ferry Terminal and Saint George                                        St Georoe Feny Tetmlna.1
                                 Ferry Terminal to Great Kills, and evening express trains that run                                   S40, S42. 544. s.18. S48. SS1.
                                 non-stop from Saint George to Great Kills.                                                           S52, 581. 582. 566, S14, S76.
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                Schedule (in PDF format)
              t Staten Island Railway menu
              t MTA maps page



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SCLAR DECLARATION

                EXHIBIT 12




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            DECLARATION OF




           DANIEL J. ZAZZALI




               IN SUPPORT OF

   PLAINTIFFS’ MOTION FOR

  PRELIMINARY INJUNCTION




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------X
                                                       DECLARATION OF
336 LLC, d/b/a “The Erotica”, et al.,
                                                       DANIEL J. ZAZZALI
                               Plaintiffs,
                v.
                                                            Docket No.
THE CITY OF NEW YORK, et al.,                           1:18-cv-3732-WHP
                        Defendants.
---------------------------------------------------X


       I, DANIEL J. ZAZZALI, hereby declare pursuant to 28 U.S.C. § 1746:

       1. I submit this declaration in support of the Plaintiffs’ motion for a

preliminary injunction against enforcement of Text Amendment N 010508

ZRY of the Zoning Resolution of the City of New York (the “2001

Resolution”), which amends the zoning law relating to adult uses. This

declaration is based upon personal knowledge.


       2. I am President of Showtech Inc. (“Showtech”), located at 40 Entin

Road, Clifton, New Jersey 07014. Showtech was established in 1989.

Showtech manufactures, installs, and maintains private viewing booths in

New York City. Showtech is also involved in the operation of two bookstores

-- Playpen, located at 687 Eighth Avenue in Manhattan, and Explore DVD,

located at 97-06 Queens Boulevard, in Rego Park, Queens -- which offer some

adult information, as well as non-adult information, to the public.




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      3. In or about 1962, my brother took over a company called Rangertone

Research Inc. (“Rangertone”), which had manufactured sound and projection

equipment for the motion picture industry since the 1930s. Rangertone was

created by Richard Ranger, who was an innovator in the film industry. In

1956, Richard Ranger received an Oscar for Best Technical Achievement

from the Academy of Motion Picture Arts and Sciences for his work

synchronizing sound and film.


      4. I started working for Rangertone in 1974. At that time, we began

designing and constructing private viewing booths (also known as “peep

shows”), which were initially modeled after coin-operated arcade

photobooths. The booths were intended to enable consenting adults to view

erotic films in a private setting. The films and expression shown in the booths

are protected by the First Amendment to the United States Constitution.


      5. In or about 1977, we were involved in the construction of Show

World Center, located at 303 West 42nd Street (across from the Port Authority

on Eighth Avenue). We installed more than 100 booths at Show World. We

also created and installed the very first “peep-alive” booths, which enabled a

customer to deposit a quarter and view a live woman dancing on a stage. Show




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World was, at one time, the largest adult establishment in New York City. It

offered exclusively adult entertainment to the public.


      6. We -- first as Rangertone and then as Showtech -- continued

building, installing, and maintaining booths.


      7. Booths are large, heavy cabinetry with complicated electrical

systems and wiring. Most booths are approximately seven and a half feet tall,

four feet wide, and six feet deep. They are designed for use by one person and

contain a single seat.


      8. Each booth has a screen (usually 20 to 40 inches) on which patrons

may view a selection of films. Each booth contains a keyboard which patrons

can use to select the films they wish to view. There is also a second screen in

Showtech booths that shows four different films. The films are changed

periodically.


      9. Bookstores usually have a control room or area with a computer for

each booth. Booths cost between $5,000 to $10,000 each, depending on the

number of channels or selections. Although booths previously accepted coins,

our booths now only accept dollar bills.




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      10. Viewing booths provide patrons with an opportunity to select

between various film offerings that may not be available anywhere else. The

booths also enable customers to preview films that are available for sale at the

bookstore.


      11. Booths allow consenting adults to view a wide range of sexually

explicit material within the privacy and sanctity of a safe space. No one knows

what selection a person is viewing. Therefore, booths allow patrons to watch

films that some might believe are deviant, aberrant, queer, perverse or

unorthodox, within a judgment-free zone.


      12. Unlike the Internet, which can be traced to a specific computer or

user, booths provide total anonymity. In this digital age, where Internet

searches are all cached and online purchase can always be traced, the booths

provide an old school means by which a patron can watch erotica without

anyone knowing his or her personal predilections, sexual fantasies, and

fetishes.




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      13. The adult-oriented information offered in Showtech booths, and

upon information and belief in other booths in New York City, is shown only

to willing adults on private property as a form of protected expression. There

is no contention that any information provided in the booths is legally

obscene. This information enjoys a substantial amount of public interest.


      14. In the 1990s, there were more than 60 bookstores in New York City,

which offered expression to patrons in private viewing booths. Many of the

bookstores -- especially the large ones in the Times Square area -- had at least

30 to 40 booths. I estimate, conservatively, there were more than 1,500 booths

in the City.


           The 1995 Adult Zoning Resolution and its Aftermath

      15. On October 25, 1995, the City amended the Zoning Resolution to

restrict the operation of adult establishments. More than 90 owners and

operators of adult businesses challenged the constitutionality of the

amendment. See Amsterdam Video, Inc. v. City of New York, Index No.

103568/96 (Sup. Ct. N.Y. Co.).




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      16. In 1998, we were informed that the courts had upheld the adult

zoning law and the City planned to enforce it. Stringfellow’s of New York,

Ltd. v. City of New York, 91 N.Y.2d 382, 671 N.Y.S.2d 406 (1998).


      17. Our lawyers then went into federal court because the key term

defining an adult establishment -- “substantial portion” -- was vague. See

Amsterdam Video, Inc. v. City of New York, Docket No. 96 Civ. 2204 (MGC)

(S.D.N.Y.). On July 24, 1998, in response to and out of a concern for our

vagueness challenge, the City asserted before Judge Miriam Cedarbaum that

any commercial establishment that has less than 40 percent of adult stock-in-

trade, or allocated less than 40 percent of its accessible floor area to an adult

use, would comply with the 1995 Resolution (the “60/40 Provision”).


      18. The 60/40 Provision applied to all types of businesses -- including

bookstores with booths. Therefore, if a bookstore reduced its adult component

to less than 40 percent of its floor space and stock, it could still exhibit a

selection of adult films in viewing booths without having to close, relocate or

censor that aspect of its expression.




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      19. In the summer of 1998, bookstores undertook enormous efforts to

change the entire configuration, layout, and nature of the establishments. I was

actively involved in transforming several bookstores, which formerly were

exclusively adult businesses, into non-adult establishments.


      20. We engaged the services of licensed and experienced architects to

redesign the floor space. Substantial and costly modifications -- totaling

hundreds of thousands of dollars -- were affected.


      21. Formerly adult businesses removed hundreds of booths to come

into compliance with the law. The stores also purchased customized display

fixtures and merchandise racks for non-adult stock. Slat board, metal grid,

shelving, and glass showcases were affixed to the walls throughout the retail

premises. Additionally, window displays were redesigned.


      22. Areas that previously contained adult-oriented material were, at

substantial cost, completely restocked with non-adult merchandise. The

businesses also ordered and installed new exterior and interior signage, to

reflect the non-adult nature of the business.




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      23. Back in the 1990s, many of the establishments had d/b/a names that

referenced the importance of the booths to their business. See, e.g.,

Hollywood Peepshows, 777-779 Eighth Avenue, New York County; Peep O

Rama, 121 West 42nd Street, New York County; Peepland, 136 West 42nd

Street, New York County; Peepworld, 155 West 33rd Street, New York

County; and Peepland, 711 Seventh Avenue, New York County. All these

businesses, which were “booth-centric”, closed and no longer exist. To the

best of my knowledge, there are no longer any peep-alive booths anywhere in

New York City.


      24. Over the last three decades, the number of bookstores and booths in

New York City has drastically declined. I believe this is due to various factors

including, but not limited to, (1) enforcement actions brought by the City

under the 1995 Resolution; (2) eminent domain proceedings brought for

redevelopment of Times Square and other areas; (3) demolition of other

buildings for development; (4) rezoning; (5) loss of leases due to

gentrification and an increase in real estate values in areas with 60/40

bookstores; and (6) attrition and loss of retail sales due to the Internet.




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      25. In May of 2017, Richard Basciano, who founded Show World,

passed away. Show World, which was once the largest adult business in New

York City, is now closed.


      26. The 60/40 bookstores of today are quite different from the

exclusively adult bookstores that existed back in the 1990s. Bookstores today,

for the most part, offer general interest (non-adult) DVDs, and a smaller

number of adult DVDs, for sale. To attract female customers, many stores

now offer a large selection of other retail merchandise including, but not

limited to, boots, lingerie, and novelties. Since 1998, when the 60/40

Provision went into effect, I have noticed new customers, including many

female patrons and couples, at 60/40 bookstores.


      27. Most 60/40 bookstores also have viewing booths, which are, for the

most part, located in the back or basement of the store. In most 60/40

bookstores the booths only occupy approximately 10 to 20 percent of the total

floor space accessible to customers.




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      28. According to the City, in 2000 there were 44 businesses with

booths. See 2001 CPC Report at 9. Forty-two were 60/40 bookstores with

booths, while two were traditional movie theaters (one in Queens and one in

Brooklyn) with large screens and auditorium seating. Id.


      29. To the best of my knowledge, today the number of bookstores with

booths has declined further from 42 to approximately 25. Now, there are only

approximately 280 private booths in all of New York City. This is a reduction

of more than 80% of the booths since the City enacted the 1995 Resolution.


                       The 2001 Adult Zoning Resolution

      30. In 2001, the City amended the definition of “adult establishment”

in the Zoning Resolution. The 60/40 Provision was eliminated for eating or

drinking establishments, theaters or any use other than a “bookstore.”


      31. Under the 2001 Resolution, bookstores must still comply with the

rigid 60/40 requirements regarding floor space and stock. In addition, there

are a number of so-called “sham” factors the Buildings Department will also

consider in deciding whether a bookstore is actually an adult bookstore or

adult establishment.




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         32. For instance, under the 2001 Resolution, if a bookstore devotes less

than 40 percent of its stock and floor space to adult material, all of its non-

adult stock is disregarded and deemed to be a sham if the bookstore has a

greater variety of adult DVD titles than non-adult DVD titles. General interest

DVDs also do not count as stock if the bookstore excludes minors from the

whole store or any non-adult portion of the store. Similarly, all non-adult stock

will be disregarded for purposes of a 60/40 analysis if the store has any booths

where adult movies are available for viewing by customers.


         33. The 1995 Resolution specifically allowed bookstores to have

viewing booths. In contrast, under the 2001 Resolution, the City has banned

adult booths from all of New York City, except in the extremely limited areas

where 100 percent adult establishments can endeavor to locate.


                  Bookstores and Free Expression Will Suffer
                  Grave Irreparable Harm if the 2001
                  Resolution is Enforced
         34. Our bookstore, located at 687 Eighth Avenue between West 43rd

and West 44th Streets, is one of the very few businesses with viewing booths

remaining in the Times Square area. Playpen (also known as Gotham Video

Sales & Distribution Inc.) has operated at its current location for the last 15

years.



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      35. In 2003, around the time we opened Playpen, Justice Louis B. York

granted summary judgment and struck down the 2001 Resolution as

unconstitutional. For the People Theatres of N.Y., Inc. v. City of New York,

1 Misc.3d 394, 768 N.Y.S.2d 783 (Sup. Ct. N.Y. Co. 2003)(finding the

expansive definition of “adult bookstore” was “broader than needed to

achieve the City’s purpose of ameliorating negative secondary effects”).1


      36. Playpen was specifically designed as a 60/40 bookstore in

accordance with the 60/40 Provision. It cost more than $300,000 for us to

design, build, and open the bookstore. Most of our floor space is dedicated to

retail stock -- both adult and non-adult -- and sales. There are also 27 private

viewing booths in the bookstore. It is my understanding that adult

establishments are not permitted to be located at the address where Playpen is

located.




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 As developed in the Declaration of our attorney, Erica Dubno, Justice York’s
decision was ultimately overturned on appeal.



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      37. Our other store, Explore DVD, has operated at its current location

since approximately 2006. Explore DVD was designed as a 60/40 bookstore

with retail and accessory booths. Explore DVD has approximately 15 booths.

It is my understanding that adult establishments are not permitted at the

address where Explore DVD is located.


      38. Although the booths occupy a relatively small percentage of the

total floor space, and are an accessory to our retail use, they are an important

part of the businesses. The booths give customers a wide selection of films

they cannot see anywhere else. If the 2001 Resolution, which, in essence, has

never been enforced against existing businesses, becomes enforceable, then

we will not be able to show any adult films in booths. We will be forced to

close our booths and prevented from dispensing constitutionally protected

expression to the public.


      39. In addition, we will sustain significant economic and other damages

that would require the business to close. If forced to close, at least seven

employees -- many who have worked for the bookstores for 10 to 15 years --

will lose their jobs. The consequences to our business -- and to our customers

-- will be devastating and irreparable.




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      40. We have leases for the stores. If we break the leases because we

must close the business before the leases expire, we will suffer substantial

penalties. We may also be forced to break other contracts that we have for

services.


      41. We have many regular customers who come into our stores for the

adult and non-adult material. If we are forced to close, we will lose our regular

customers and the goodwill we have developed over 12 to 15 years.


      42. Without a preliminary injunction, the City could bring enforcement

proceedings under the Nuisance Abatement Law while this Court is

considering the merits of this civil rights lawsuit. It would not help us to

eventually win the case if our expression has been enjoined and we already

lost our stores and livelihood.


      43. Each of the 25 bookstore with booths in New York City employs

people and provides expression to the public. If injunctive relief is not issued,

more than 100 will lose their jobs.




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      44. Even if the bookstores are not forced to close or relocate, which is

disputed, irreparable harm exists if we and other bookstore owners are

required to alter the nature of our expression to comply with the disputed

resolution. Forcing bookstore owners to censor or silence the nature of our

expression, will have dire implications for free expression in New York City.


      45. In addition to Nuisance Abatement proceedings, if the 2001

Resolution is enforced, bookstore owners face criminal charges. Section 11-

61 of the Zoning Resolution provides, in pertinent part, that the owner or

operator of any place in violation of a provision of the Zoning Resolution

“shall be guilty of a misdemeanor.”


      46. Section 55.10(2)(b) of New York’s Penal Law states that any

offense defined outside this chapter which is declared by law to be a

misdemeanor “shall be deemed a class A misdemeanor.” P.L. § 70.15(1) then

authorizes a sentence of imprisonment of up to one year for a class A

misdemeanor. Thus, criminal charges -- punishable by a year in jail -- may be

filed against bookstore owners perceived to be in violation of the 2001

Resolution. The operator of a bookstore is subject to conviction and

imprisonment if there are any adult booths.




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      47. When the City enforced the 1995 Resolution, it sought orders to

show cause to close bookstores under the Nuisance Abatement Law. The City

also brought criminal prosecutions against store owners.


      48. I am 66 years old and have a family. I would stop showing films in

our booths, and, if necessary, close the bookstores, rather than risk being

thrown in jail or facing criminal prosecution.


               A Balancing of the Equities Favors
               Granting Injunctive Relief
      49. Our lawful businesses -- and other 60/40 bookstores -- pay taxes.

We are good neighbors, employ members of the community, and serve an

obvious public demand. The establishments offer both adult and non-adult

constitutionally protected expression. Nothing is lost by allowing these

businesses to continue to operate as they have for nearly two decades.

However, everything would be lost by unsettling the status quo before this

Court has had an opportunity to review the merits of the Plaintiffs’ claims.


      50. In 2017, the bookstores entered a stipulation with the City whereby

we agreed to comply with all provisions of the 2001 Resolution against

bookstores, except three (the “Stipulation”).




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      51. Under the current stipulated status quo, bookstores must comply

with the established 60/40 Provision, requiring them to limit their adult

component to less than 40 percent of the customer accessible floor space and

stock. In addition, bookstores that fully comply with the 60/40 Provision can

still be subjected to sanctions if any one of these factors exist:

          a. An interior configuration and lay-out which requires customers
             to pass through an area of the store with “adult printed or visual
             material” in order to access an area of the store with “other
             printed or visual material” (Z.R. § 12-10[2][d][aa]);
          b. a method of operation which requires customer transactions with
             respect to “other printed or visual material” to be made in an area
             of the store which includes “adult printed or visual material”
             (Z.R. § 12-10[2][d][cc]);
          c. a method of operation under which “other printed or visual
             material” is offered for sale only and “adult printed or visual
             material” is offered for sale or rental (Z.R. § 12-10[2][d] [dd]);
          d. a greater number of different titles of “adult printed or visual
             material” than the number of different titles of “other printed or
             visual material” (Z.R. § 12-10[2][d][ee]);
          e. a sign that advertises the availability of “adult printed or visual
             material” which is disproportionate in size relative to a sign that
             advertises the availability of “other printed or visual material”,
             when compared with the proportions of adult and other printed
             or visual materials offered for sale or rent in the store, or the
             proportions of floor area or cellar space accessible to customers
             containing stock of adult and other printed or visual materials
             (Z.R. § 12-10[2][d][gg]); and/or




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         f. a window display in which the number of products or area of
            display of “adult printed or visual material” is disproportionate
            in size relative to the number of products or area of display of
            “other printed or visual material”, when compared with the
            proportions of adult and other printed or visual materials offered
            for sale or rent in the store, or the proportions of floor area or
            cellar space accessible to customers containing stock of adult and
            other printed or visual materials (Z.R. § 12-10[2][d][hh]).

      52. Under the Stipulation, the City agreed not to require compliance

with the following provisions: (1) the prohibition against one or more

individual enclosures where adult movies or live performances are available

for viewing by customers (Z.R. § 12-10[2][d][bb]); (2) the prohibition against

excluding or restricting minors from the store as a whole or from any section

of the store with non-adult material (Z.R. § 12-10[2][d][ff]); and (3)

authorizing the Building Commissioner to adopt rules relating to

“configuration and layout or method of operation”, which the Commissioner

believes render the sale or rental of adult material a “substantial purpose” of

the business conducted in such store (Z.R. § 12-10[2][d][ii]).


      53. Enforcement of these three provisions is of particular concern to

bookstore owners. The 2001 Resolution provides that all non-adult stock of a

bookstore will be disregarding for purposes of a 60/40 analysis of floor space

and stock if the management excludes minors from the whole store or from

any section with non-adult material. (Z.R. § 12-10[2][d][ff]).



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      54. We exclude minors from our stores for several reasons. First,

teenagers can be very disruptive and unruly when they come into stores --

especially in groups. Second, many bookstores have had significant problems

with unsupervised teenagers shoplifting.


      55. Third, under New York’s Penal Law it is a felony to “disseminate

indecent material to minors.” ---
                              See P.L. § 235.20. As a consequence, out of an

abundance of caution 60/40 bookstores traditionally exclude minors from the

entire store to avoid any possible allegations under the Penal Law or risk of

exposure to children.


      56. Fourth, the 2001 Resolution does not require 60/40 bookstores to

have a physical separation between adult and non-adult areas. Such a

separation requirement was included in an earlier draft of the 2001 Resolution.

However, the City Planning Commission specifically removed the provision

requiring bookstores to have a “fixed, permanent and complete visual partition

between a section of the store with ‘adult printed or visual material’ and a

section of the store with ‘other printed or visual material’” (2001 CPC Report

at 45-46). If bookstore operators are required to allow children into the store,

a child may be able to see adult material from a non-adult area. Excluding

minors from the whole store avoids that risk.



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      57. Finally, a store owner may sell items in the front of the store that

may not be appropriate for children even though they are not adult printed or

visual material, which is the target of the 2001 Resolution. For example, the

Fifty Shades of Grey book and film trilogies -- which are bestsellers in

bookstores across the world -- launched tremendous mainstream interest in

items relating to adult role playing. There is now high demand for costumes

and other fantasy accessories that are not pornographic (and not covered by

the Zoning Resolution) but may be inappropriate for children to view.


      58. The Stipulation also stays enforcement of that portion of the 2001

Resolution which authorizes the Building Commissioner to adopt rules

relating to “configuration and layout or method of operation” of bookstores

which the Commissioner believes render the sale or rental of adult material a

“substantial purpose” of the business (Z.R. § 12-10[2][d][ii]).


      59. This provision is terrifying because it empowers the Building

Commissioner -- not the legislature or First Amendment experts -- to

determine if a bookstore owner should be subjected to criminal charges and

potential closure.




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      60. Under the 2001 Resolution, our bookstores must comply with the

60/40 Provision regarding the relative amount of floor space and stock. We

must also abide by the other factors added to the definition of an adult

bookstore in Z.R. § 12-10, regarding the layout and operation of the business.


      61. However, even if we were to comply with every provision under

the 2001 Resolution, all of our non-adult stock (including thousands of

general interest DVDs) may be considered a “sham” and, therefore, not

included in a 60/40 analysis, if the Building Commissioner decides that some

other aspect of our bookstore’s method of operation renders the sale of adult

material “a substantial purpose” of the business.


      62. I am an experienced businessperson. However, I have no idea how

we can comply with that provision of the 2001 Resolution, and we have

absolutely no assurance that we will be able to continue to operate our

bookstores because we are at the mercy of the Building Commissioner.


      63. There is no prejudice to the City by allowing existing bookstores to

continue to operate pursuant to the Stipulation.




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      64. Under the stipulated status quo, the City is also free to enforce all

provisions of the 2001 Resolution against any new bookstores that

commenced operating after June 6, 2017, when the New York Court of

Appeals issued its Remittitur in For the People Theatres v. City of New York,

No. 121080/02, APL 2015-00273.


               We are Likely to Prevail on the Merits of
               this Civil Rights Lawsuit
      65. I am advised by my counsel that we are likely to succeed on the

merits of our action.


      66. The 2001 Resolution limits adult bookstores – and all other

competing adult businesses -- to a few remote areas of the City. However, no

study has been done during the last 20 years as to whether such areas could

support or are suitable for bookstores.


      67. It is also my understanding that the City has not prepared new maps

showing the current permissible areas for adult businesses. We have no way

of knowing where – if anywhere – our bookstores and other businesses with

adult material can locate.




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      68. We, through counsel, reached out to several realtors to identify

potential locations where adult bookstores with booths could endeavor to

operate. However, no realtor was able to identify such locations for us.


      69. Even if we managed to locate property within a properly zoned area

-- which we have not been able to do -- it is extremely hard for us, or any other

potential business owner, to definitively know whether there are sensitive

receptors – such as churches or schools -- within the area.


      70. There are houses of worship hidden throughout the City, which may

not be ascertainable from a building’s façade or signage. For instance, many

businesses have daycare centers or schools on the premises that could,

conceivably, bar an adult use from locating within a two and a half block (500-

foot) radius. There are also numerous Orthodox Jewish minyans tucked into

upper floors of office buildings in Manhattan that may disable blocks of

otherwise permissible areas.




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      71. There are many other obstacles to moving or opening adult

businesses. For instance, most commercial leases specifically bar

“pornographic uses.” I believe that such restrictive language is included in the

standard lease forms of the Real Estate Board of New York and the Bar

Association of the City of New York’s Committee on Real Property Law.


      72. The City is constantly changing the zoning – especially in the

limited areas to where bookstores are relegated. And, there are several areas

that are possibly subject to rezoning.


      73. I would not invest in property that may be subject to rezoning.

Opening a bookstore with booths is an extremely costly proposition. It

requires long term leases, obtaining building permits, architectural plans, the

installation of sophisticated electronic equipment and wiring, and other

substantial steps. Neither I nor any other businessperson I know would

undertake such a significant, costly, and arduous task without an assurance

the area will remain permissible for adult establishments.




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      74. Many of our customers come to our bookstores because they are

convenient and within walking distance of their homes or offices. We have a

number of customers who use wheelchairs or have other disabilities.


      75. Many of our customers do not have the time, funds or means to

travel to view films in booths.


      76. If our stores are forced to close or remove their booths, this will

deprive our customers access to a form of expression that they enjoy.


      77. I respectfully ask the Court to grant the Plaintiffs’ motion for a

preliminary injunction and such other and additional relief as is just under all

the circumstances of this case.




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     I declare under penalty of perjury that the foregoing is true and correct.


Dated: November _13, 2018




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            DECLARATION OF




             DANIEL KNECHT




               IN SUPPORT OF

   PLAINTIFFS’ MOTION FOR

  PRELIMINARY INJUNCTION




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------X
                                                       DECLARATION OF
336 LLC, d/b/a “The Erotica”, et al.,
                                                       DANIEL KNECHT
                               Plaintiffs,
                v.
                                                           Docket No.
THE CITY OF NEW YORK, et al.,                          1:18-cv-3732-WHP
                        Defendants.
---------------------------------------------------X


       I, DANIEL KNECHT, hereby declare pursuant to 28 U.S.C. § 1746:

       1. I submit this declaration in support of the Plaintiffs’ motion for a

preliminary injunction against enforcement of Text Amendment N 010508

ZRY of the Zoning Resolution of the City of New York (the “2001

Resolution”), which amends the zoning law relating to adult uses. This

declaration is based upon personal knowledge.


       2. I am a member of 336 LLC, a Plaintiff in this lawsuit. We operate

the bookstore known as The Erotica, at 336 Eighth Avenue, between West

26th Street and West 27th Street, in the Chelsea section of Manhattan (the

“Bookstore”). The Bookstore offers some adult information, as well as a

larger amount of non-adult information, to the public.




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      3. In 2012, the New York State Supreme Court declared the 2001

Resolution, which relates to businesses offering adult expression, to be

unconstitutional and enjoined its enforcement. The 2001 Resolution, in its

entirety, was declared to be unconstitutional between August 30, 2012 and

June 6, 2017.


      4. During that time -- in 2014 -- we signed a lease for 10 years and two

months, which ends on June 30, 2024, for the ground floor commercial space

at 336 Eighth Avenue in Manhattan. Our store has operated at its current

location for the last four years. The Bookstore is in a C6-2A zoning district.

We are across Eighth Avenue from R8 and C4-5 zoning districts. I believe

adult establishments are not permitted at the address where the Bookstore is

located.


      5. We specifically designed and established the Bookstore to comply

with the 60/40 Provision, which was the governing law at the time, whereby

less than 40 percent of the customer accessible floorspace and stock is

dedicated to adult material.




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      6. We have 10 private viewing booths in the rear of the Bookstore.

These booths offer a selection of channels where patrons can view a variety

of sexually explicit films on a screen within the enclosed private space.


      7. The First Amendment protects the films and expression shown in the

booths. There is no contention that any information provided in the booths is

legally obscene. This information enjoys a substantial amount of public

interest by consenting adults. Although the booths, which are in the back of

the Bookstore, occupy less than 40 percent of the total floor space, they are an

integral part of our business. They give customers a wide selection of films

they cannot see anywhere else.


      8. If a preliminary injunction is not issued, and the 2001 Resolution,

which has never been enforced against existing businesses, becomes

enforceable, then we must immediately cease showing any adult films.


      9. We will be forced to close and remove our costly and heavy booths.

In addition to the crushing economic cost, this would severely limit our ability

to dispense constitutionally protected expression to the public. I have been

advised by our attorney that because of the high premium placed upon free

speech, its loss “for even minimal periods of time, unquestionably constitutes




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irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373, 96 S. Ct. 2673, 2690

(1976).


      10. In addition, because of the critical role the booths play in the

operation of our business, we will sustain significant damages that would

require the business to cease operations. If forced to close, at least two

employees as well as the store owners will lose our jobs. The consequences to

our business -- and to our customers -- will be devastating and irreparable.


      11. If we break our lease because we must close the business before the

leases expire, we will suffer substantial penalties. Our rent is approximately

$16,680 per month for the small space. We may also be forced to break other

contracts that we have for services.


      12. We have many regular customers who come for the adult and non-

adult material. Customers have expressed concerns about what will happen to

us and them if we are forced to close the booths. We will lose regular

customers and the goodwill we have developed over the last four years.




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      13. Many of our customers come to our Bookstore because it is

convenient and within walking distance of their homes or offices. Our

business caters, in part, to the artistic community around the Fashion Institute

of Technology and the gay community of Chelsea, where we are located. We

would not endeavor to relocate our booths and business outside of Manhattan

because, among other issues, it is inconsistent with our business plan.


      14. Even if we wanted to move out of Manhattan, which we do not, we

do not know where we could possibly endeavor to relocate. The City has not

generated any maps, or provided any other information, indicating permissible

areas for bookstores with adult booths.


      15. Opening a bookstore with booths is an extremely costly

proposition. It requires long term leases, building permits, architectural plans,

the installation of sophisticated electronic equipment and wiring, and other

substantial steps. I would not invest in property that may be subject to

rezoning. Neither I nor any other businessperson I know would undertake

such a significant, costly, and arduous task without an assurance the area will

remain permissible for adult establishments.




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      16. Without a preliminary injunction, the City could bring enforcement

proceedings under the Nuisance Abatement Law while this Court is

considering the merits of our civil rights lawsuit. It would not help us to

eventually win the case if our expression has been enjoined, and we already

lost our store and livelihood.


      17. In addition to Nuisance Abatement proceedings, bookstores across

New York City face criminal charges as part of the City’s enforcement

campaign. Such a prosecution can subject the operator of a bookstore to a

conviction and imprisonment of up to one year if there are adult booths.


      18. I would close our booths, and silence our expression, rather than

risk being thrown in jail or facing criminal prosecution,


      19. I am very familiar with other bookstores with an adult component

in New York City. This is, in part, because I am also a principal of VDAN

Sales Inc., which distributes marital aids, lingerie, novelties, and other

merchandise to bookstores throughout New York.


      20. Based on my investigation and personal knowledge, it is my

understanding that there are only approximately 25 bookstores in New York

City that operate under a 60/40 formula and have adult booths.




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     21. I know of the following 60/40 14 bookstores with booths in

Manhattan:

             Blue Door Video
             87 First Avenue
             New York, New York 10003
             Approximately 10 booths

             Xcellent DVD
             515 Sixth Avenue
             New York, New York 10011
             Approximately 8 booths

             725 Video Outlet Inc. a/k/a Video Video
             725 Sixth Avenue
             New York, New York 10010
             Approximately 12 booths

             Chelsea 7 Corp.
             155 Eighth Avenue
             New York, New York 10011
             Approximately 3 booths

             Harmony
             165 Eighth Avenue
             New York, New York 10011
             Approximately 10 booths

             Rainbow Station 7 Inc.
             203 Eighth Avenue
             New York, New York 10011
             Approximately 10 booths

             The Blue Store
             206 Eighth Avenue
             New York, New York 10011
             Approximately 20 booths



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        336 LLC d/b/a The Erotica
        336 Eighth Avenue
        New York, New York 10001
        Approximately 10 booths

        557 Entertainment Inc.
        557 Eighth Avenue
        New York, New York 10018
        Approximately 10 booths

        Gotham Video Sales & Distribution Inc. a/k/a Playpen
        687 Eighth Avenue
        New York, New York 10036
        Approximately 27 booths

        Vishans Video, Inc. a/k/a Vishara DVD
        797 Eighth Avenue
        New York, New York 10019
        Approximately 24 booths

        Jayasara Video Inc.
        308 West 36th Street
        New York, New York 10018
        Approximately 10 booths

        Blue Toys Corp.
        236 West 40th Street
        New York, New York 10018
        Approximately 20 booths

        Mixed Emotions
        216 West 50th Street
        New York, New York 10019
        Approximately 8 booths




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      22. Another bookstore, which had 14 booths, Vihara Video, 592 Eighth

Avenue, New York, New York 10018, closed its doors and stopped operating

in July of 2018.


      23. The following five 60/40 bookstores with booths are in Brooklyn:

             Flatbush Video
             2350 Flatbush Avenue
             Brooklyn, New York 11234
             Approximately 4 booths

             Video Lovers Inc.
             746 Third Avenue
             Brooklyn, New York 11232
             Approximately 10 booths

             757 Paradise
             761 Third Avenue
             Brooklyn, New York 11232
             Approximately 20 booths

             Candy Love
             871 Third Avenue
             Brooklyn, New York 11232
             Approximately 3 booths

             Video City
             956 Third Avenue
             Brooklyn, New York 11232
             Approximately 6 booths




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  24. The following four 60/40 bookstores with booths are in Queens:

        Explore DVD LLC
        97-06 Queens Boulevard
        Queens, New York 11374
        Approximately 15 booths

        DCD Exclusive Video Inc.
        102-30 Queens Boulevard
        Queens, New York 11375
        Approximately 7 booths

        DCD Exclusive
        23-08 Jackson Avenue
        Queens, New York 11101
        Approximately 8 booths

        Little Neck Video
        254-11 Northern Boulevard
        Queens, New York 11362
        Approximately 9 booths

  25. The following two 60/40 bookstores with booths are in the Bronx:

        ASA Castle Video
        2160 Westchester Avenue
        Bronx, New York 10462
        Approximately 6 booths

        DVD Palace
        4028 Boston Road
        Bronx, New York 10475
        Approximately 4 booths




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        26. To the best of my knowledge, if the 2001 Resolution is enforced

then each of these bookstores -- including ours -- will be forced to close their

booths. This will sound the death knell for virtually all booths in New York

City.


        27. To the best of my knowledge, there is only one bookstore in

Manhattan within a permissible area for adult establishments: 300 Video

Center, 300 West 40th Street, New York, New York 10018. This small

bookstore, which is not at street level and is located down in the stairway for

the subway system, does not have any private viewing booths. Therefore, if

the preliminary injunction is denied, and all existing 60/40 bookstores are

required to close and/or remove their booths, there will be no adult booths

anywhere in Manhattan.


        28. I only know of two bookstores -- in all of New York City --- which

have booths and are in areas where exclusively adult establishments may

operate: (1) Sensations Video, 150-19 Guy R. Brewer Boulevard, Queens,

New York 11434; and (2) Nitecap Megastore (“Nitecap”), 690 Gulf Avenue,

Staten Island, New York 10314.




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      29. Sensations Video is in an industrial business zone within 500 feet

of JFK Airport. I believe the building housing Sensations Video was recently

sold, and the adult bookstore will close within the next few months.


      30. Once Sensations Video closes, I believe there will only be one adult

bookstore in the entire City with booths. That bookstore -- Nitecap on Staten

Island -- is a one-hour drive from our bookstore, which is centrally located in

Manhattan.


      31. According to a Google Map search, which is attached as Exhibit 1,

it would take 1 hour and 53 minutes during rush hour to get to Nitecap from

our bookstore by public transportation. This would entail (1) walking from

the Bookstore to the subway station at 23rd Street; (2) taking the E train to

42nd Street / Port Authority; (3) taking the SIM 30 bus for 44 minutes to

Sunnyside via Forest Avenue; and (4) walking for 2.6 miles (approximately

52 minutes) from Forest Avenue/Goethals Road to Nitecap at 690 Gulf

Avenue.




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      32. It is extremely difficult for any bookstore to comply with the new

60/40 rules contained within the 2001 Resolution. In addition to dedicating

less than 40 percent of all customer accessible floorspace and stock to adult

materials, there are a number of other burdens now imposed on bookstores.

For example, the 2001 Resolution directs where DVDs may be displayed, the

variety of titles that can be offered for sale based on the content of films, and

whether a store may sell or rent its DVDs.


      33. Since June of 2017, a number of formerly 60/40 bookstores have

removed all of their books, magazines, DVDs, and videos -- both adult and

non-adult -- so they are no longer considered to be bookstores and subject to

the 2001 Resolution. This has substantially reduced the amount of

constitutionally protected information available to the public. We have no way

to ascertain the number of 60/40 bookstores without booths remaining in

Manhattan and the rest of New York City.


      34. Each bookstore with booths employs people and provides

expression to the public. If injunctive relief is not issued, hundreds of people

-- including me and my employees -- will lose their jobs.




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      35. While pure financial loss alone may not be enough to obtain a

preliminary injunction, the annihilation of expression and loss of livelihood

should certainly be considered in any determination of irreparable harm.


      36. Forcing bookstore owners to censor the nature of our expression

will have dire implications for free expression in New York City. Even if

bookstores are not forced to close or relocate, which is disputed, irreparable

harm exists if the businesses are required to alter the nature of our expression

to comply with the disputed zoning law.

      37. 336 LLC never previously operated this or any other bookstore with

adult material. 336 LLC was not party to any prior lawsuit challenging the

constitutionality of the 2001 Resolution.


      38. For all these reasons, and those contained in the other documents

filed in this case, I respectfully ask that the Court grant the Plaintiffs’ motion

for a preliminary injunction, and such other and additional relief as is just

under all the circumstances of this case.




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     I declare under penalty of perjwy that the foregoing is true and correct.


Dated: November   f, 2018
                                            Daniel Knecht




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KNECHT DECLARATION

                  EXHIBIT 1




                                                                    1659
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         Google Maps                                                                   336 8th Ave, New York, NY 10001 to 4:15 PM - 6:08 PM (1 h 53 min)
                                                                                       690 Gulf Avenue, Staten Island, NY
                                                                                                                          West Orange
                                                                              ®                                                                                         Belleville                                                                                                      Rikerslsl
                                                                                                           ®                                                                                         RichardwDe   Secaucus
                                     Florham Park                      Livingston
                                                                                                                                                                                                     Korte Park
,,,                                                                                                                                                                                                                                                  UPPER
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              •• About 1 min
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5:16 PM       . Forest Av/Goethals Rd N
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6:08 PM      ® 690 Gulf Ave
                  Staten Island, NY 10314

Tickets and information
MTA New York City Transit - 1 (718) 330-1234

These directions are for planning purposes only.
You may find that construction projects, traffic,
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differ from the map results, and you should plan
your route accordingly. You must obey all signs or
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             DECLARATION OF




             YITZIK SHACHAF




                IN SUPPORT OF

    PLAINTIFFS’ MOTION FOR

  PRELIMINARY INJUNCTION




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------X    DECLARATION OF
336 LLC, d/b/a "The Erotica", et al.,
                                                       YITZIK SHACHAF
                        Plaintiffs,
               v.
                                                           Docket No.
THE CITY OF NEW YORK, et al.,
                                                       1:18-cv-3732-WHP
              Defendants.
---------------------------------------------------X


       I, YITZIK SHACHAF, hereby declare pursuant to 28 U.S.C. § 1746:

    - 1. I submit this declaration in support of the Plaintiffs' motion for a

preliminary injunction against enforcement of Text Amendment N 010508

ZRY of the Zoning Resolution of the City of New York (the "2001

Resolution"), which amends the zoning law relating to adult uses. This

declaration is based upon personal knowledge. I am not a party to this action

and was not patiy to any prior lawsuit challenging the constitutionality of the

2001 Resolution.


       2. I am an owner of 757 Paradise Ltd., which operates the bookstore at

761 Third Avenue, Brooklyn, New York 11232 (the "Bookstore"). The

Bookstore has been at its current location in South Slope / Sunset Park since

approximately 1991. Even though we are in an Ml-2D zoning district, it is




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my understanding that adult establishments are not permitted at the address

where the Bookstore is located.


       3. When we first opened the Bookstore we only offered adult material.

After the 1995 Resolution went into effect, we took extensive steps to change

the essential nature of our business. For instance, we substantially reduced our

adult inventory and introduced a large assortment of other merchandise to

attract and appeal to a different clientele.


      4. We redesigned the Bookstore to comply with the 60/40 Provision,

whereby less than 40 percent of the customer accessible floorspace and stock

is dedicated to adult material. We now have many female customers.


      5. There are 20 private viewing booths in the Bookstore. These booths

offer a selection of channels where patrons can view a variety of sexually

explicit films on a screen within an enclosed private space.


      6. The films and expression shown in the booths are protected by the

First Amendment to the United States Constitution. There is no contention

that any information provided in the booths is legally obscene. This

information enjoys a substantial amount of public interest.




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      7. Although the booths occupy less than 40 percent of the total floor

space, they are an integral part of our business. They give customers a wide

selection of films they cannot see anywhere else. If the 2001 Resolution,

which has never been enforced against existing businesses, becomes

enforceable, then we must immediately cease showing any adult films in our

booths.


      8. We will be forced to close and remove our costly and heavy booths.

In addition to the devastating economic cost, this would severely limit our

ability to dispense constitutionally protected expression to the public.


      9. Because of the critical role the booths play in the operation of our

business, we will sustain significant damages that may require the business to

cease operations. If forced to close, at least four employees -- two of whom

have worked for us for more than 15 years -- will lose their jobs. The

consequences to our business -- and to our customers -- will be devastating

and irreparable.


      10. Our lease runs until December 21, 2021. If we break our lease

because we must close the business before the lease expires, we will suffer

substantial penalties. We may also be forced to break other contracts that we

have for services.



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       11. Approximately 75 percent of our customers are regulars who come

to the Bookstore for adult and non-adult material. Many of our customers

come because it is convenient to their homes or offices. Ifwe must close the

booths, we will lose regular customers and the goodwill we have developed

over more than 25 years.


       12. If we keep the booths open, we could be subjected to criminal

prosecutions and injunctions under the Nuisance Abatement Law. I would

close our booths, and silence important expression, rather than risk being

thrown into jail or face criminal prosecution, or other sanctions, through

enforcement proceedings.


      13. Even if we wanted to move our business, which we do not, I have

no idea where we could possibly try to relocate. The City has not generated

any maps, or provided any other information, indicating permissible areas for

adult booths.


      14. It is my understanding that there are some industrial areas in

Brooklyn -- such as Gowanus -- that may be subject to rezoning. Opening a

bookstore with booths is an extremely costly proposition. It requires long term

leases, building permits, architectural plans, the installation of sophisticated

electronic equipment and wiring, and other substantial steps. Neither I nor any



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other businessperson I know would undertake such a significant, costly, and

burdensome task without an assurance the area will remain permissible for

adult establishments.


      15. Over the last three decades the area where the Bookstore is located

has changed significantly. When we first opened the Bookstore, this was a

seedy, industrial area, beneath the Gowanus Expressway. Since we have been

there, the neighborhood has experienced tremendous development and

gentrification. Real estate values have markedly increased over the last decade

and the area seems substantially safer. We want to remain in our community

and continue to provide constitutionally protected expression to our

customers.


      16. I am also principal of Washington Avenue LLC. We owned the

building located at 150-19 Guy R. Brewer Boulevard, Queens, New York

11434. The building, which is in an industrial area near JFK Airport, houses

Sensations Video ("Sensations"), which has 11 viewing booths. Sensations is

in one of the very few areas where exclusively adult businesses can be located.




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      17. Sensations will be closing within the next two months because the

new owners are requiring the property to be delivered to them empty. They

will not be operating a bookstore or any other type of adult business at the

premises. It is my understanding that once Sensations closes, there will not be

any bookstores with permissible adult booths in Queens, Manhattan,

Brooklyn, or the Bronx.


      18. I believe there may be one adult bookstore on Staten Island with

booths. I lived in Staten Island for many years. Staten Island is quite unlike

any other part of New York City. For instance, it is not connected to the rest

of the City by the subway. It costs $17 (without EZ Pass) just to drive from

Brooklyn to Staten Island. It lacks the infrastructure which exists elsewhere

in New York. And, politics in Staten Island is quite distinct from the rest of

the City. These are just some of the many reasons why I would not consider

endeavoring to locate a permissible area in Staten Island to attempt to operate

a bookstore with booths. Moreover, most of my regular customers would

never travel to Staten Island to watch adult movies in booths.




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       19. For all these reasons, and those contained in the other documents

filed in this case, I respectfully ask that the Court grant the Plaintiffs' motion

for a preliminary injunction and interim relief, and such other and additional

relief as is just under all the circumstances of this case.


      20. I declare under penalty of perjury that the foregoing is true and

correct.


Dated: November __2_, 2018


                                                YITZI




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             DECLARATION OF




              ERICA T. DUBNO




                IN SUPPORT OF

    PLAINTIFFS’ MOTION FOR

  PRELIMINARY INJUNCTION




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------X
                                                       DECLARATION OF
336 LLC, d/b/a “The Erotica”, et al.,
                                                       ERICA T. DUBNO
                               Plaintiffs,
                v.
                                                           Docket No.
THE CITY OF NEW YORK, et al.,                          1:18-cv-3732-WHP
                        Defendants.
---------------------------------------------------X


       I, Erica T. Dubno, hereby declare pursuant to 28 U.S.C. § 1746:

       1. I am an attorney admitted to practice in this Court as well as in the

New York State courts, the Second Circuit, and the United States Supreme

Court. I am a member of Herald Price Fahringer PLLC, d/b/a Fahringer &

Dubno, 767 Third Avenue, Suite 3600, New York, New York 10017. I

represent the Plaintiffs in their action to have aspects of Text Amendment

N 010508 ZRY to the Zoning Resolution of the City of New York (the “2001

Resolution”), which amends the zoning law relating to adult uses, declared

unconstitutional.


       2. I submit this declaration in support of the Plaintiffs’ motion for a

preliminary injunction against enforcement of the 2001 Resolution. This

declaration is based upon personal knowledge, review of records, and

investigation.




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      3. Most of the facts related to the Plaintiffs’ motion are contained

within the other declarations and exhibits contained in the Plaintiffs’ Joint

Appendix, including the Plaintiffs’ Request to Take Judicial Notice. The

arguments are contained within the Plaintiffs’ Memorandum of Law in

support of this application.

                               The 1995 Resolution

      4. On October 25, 1995, the City Council enacted Text Amendment N

950384 ZRY to the Zoning Resolution of the City of New York (the “1995

Resolution”). The 1995 Resolution defined “adult establishments” as a new

category of land use and then subjected that land use to restrictive zoning

provisions.


      5. An “adult establishment” was defined as a commercial business a

“substantial portion” of which includes: An adult bookstore (including

videostores); an adult eating or drinking establishment; an adult theater; or

other adult commercial establishment (Z.R. § 12-10).


      6. An adult establishment was further defined as a business where “a

substantial portion” of its “stock-in-trade” is characterized by an emphasis on

“specified sexual activities” or “specified anatomical areas,” or a business

which “regularly features” films or live performances that depict an emphasis



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on “specified sexual activities” or “specified anatomical areas” (Z.R. § 12-

10).


       7. The definitions of “adult eating or drinking establishments,” “adult

theaters,” and “other adult commercial establishments” included a provision

that the establishment “is not customarily open to the general public during

such features because it excludes minors by reason of age” (Z.R. § 12-10).

There was no age exclusion requirement in the definition of “adult book (and

video) stores.”

       8. The 1995 Resolution restricted adult establishments to certain

limited areas of the City. It also imposed the following limitations on adult

establishments within the remaining available districts:


             (a) Adult establishments must be located at least 500 feet from
             a church, school, residential district, or certain commercial and
             manufacturing districts (Z.R. §§ 32-01(b), 42-01(b));
             (b) adult establishments must be located at least 500 feet from
             another adult establishment (Z.R. §§ 32-01(c), 42-01(c));
             (c) only one adult establishment can be located on a zoning lot
             (Z.R. §§ 32-01(d), 42-01(d)); and
             (d) adult establishments may not exceed 10,000 square feet of
             floor area and cellar space (Z.R. §§ 32-01(e), 42-01(e)).




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      9. The City estimated that 148 of the 177 existing adult businesses

would have to close, move, or modify the nature of their business to come into

compliance with the law with the 1995 Resolution (PJA.1860). The City

estimated that approximately four percent of its total land area was available

for adult uses (PJA.1446). The City estimated that there were approximately

500 potential sites for adult establishments to relocate their businesses

(PJA.1446).


      10. The New York courts eventually upheld the 1995 Resolution.

However, throughout the proceedings the state and federal courts recognized

the significant constitutional ramification of such a law on the exercise of free

speech, and stayed its enforcement throughout the proceedings. See, e.g.,

Stringfellow’s of New York, Ltd. v. City of New York, 91 N.Y.2d 382, 395

n.1, 671 N.Y.S.2d 406, 413 n.1 (1998); Hickerson v. City of New York, 146

F.3d 99, 103 n.2 (2d Cir. 1998).


      11. In defending the 1995 Resolution the City urged that businesses did

not have to relocate if they reduced their adult materials to less than 40 percent

(a “substantial portion”) of their floor space and stock. For example, the City's

motion to vacate the stay in the New York Court of Appeals claimed, “such

establishments may continue to operate at their current locations as a non-


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adult establishment. They will not run afoul of the Amendments so long as

they do not regularly feature or devote a substantial portion of their stock-in-

trade to adult entertainment or material, as defined in those regulations.”

(Assistant Corporation Counsel Natrella Aff. ¶ 31, Amsterdam Video v. City

of New York, Index No. 103568/96); see also Affidavit of Assistant

Corporation Counsel Albert Fredericks, dated September 25, 1996, in

opposition to the plaintiffs’ motion for a preliminary injunction in Amsterdam

Video at 3 (“plaintiffs may continue to operate businesses that offer adult

entertainment and materials, so long as a ‘substantial portion’ of their

establishments are not devoted to adult materials or do not ‘regularly feature’

adult entertainment”).


      12. On July 20, 1998, when it became clear that application of the 1995

Resolution was inevitable, counsel for the adult-oriented businesses sought to

enjoin its enforcement in federal court because the key term defining an adult

establishment -- “substantial portion” -- was vague. See Amsterdam Video,

Inc. v. City of New York, Docket No. 96 Civ. 2204 (MGC) (S.D.N.Y.).




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      13. On July 24, 1998, in response to and out of a concern for our

vagueness challenge, the City asserted before Judge Cedarbaum that any

commercial establishment that has less than 40 percent of adult stock-in-trade,

or allocated less than 40 percent of its accessible floor area to an adult use,

would comply with the 1995 Resolution (the “60/40 Provision”). -
                                                               Id.
                                                                 -


      14. The 60/40 Provision applied to all types of businesses -- including

bookstores with booths. As long as a bookstore reduced its adult component

to less than 40 percent of the floor space and stock, it could exhibit a selection

of adult films to the public in the privacy of viewing booths without having to

close, relocate or censor that aspect of its expression.


                The City Brought Criminal Charges and
                Nuisance Abatement Proceedings Against
                Businesses Under the 1995 Resolution


      15. At the end of July 1998, after the judicial challenges to the 1995

Resolution had been turned back, the City launched a series of enforcement

campaigns. Padlock orders were sought against establishments in every

borough of New York under the Nuisance Abatement Law.




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      16. The City also brought criminal charges against business owners

under § 11-61 of the City’s Zoning Resolution, which provides, in pertinent

part, that the owner or operator of any place in violation of a provision of the

Zoning Resolution “shall be guilty of a misdemeanor.” Section 55.10(2)(b) of

New York’s Penal Law states that any offense defined outside this chapter

which is declared by law to be a misdemeanor “shall be deemed a class A

misdemeanor.” P.L. § 70.15(1) then authorizes a sentence of imprisonment of

up to one year for a class A misdemeanor.


      17. The City Planning Commission (“CPC”) reported a 23 percent

decline in the number of adult establishments -- a loss of 41 businesses --

during the period from 1993 through 2000. See 2001 CPC Report at 6

(PJA.0714).


                            The 2001 Resolution

      18. On March 22, 2001, toward the end of Mayor Rudolph W.

Giuliani’s term, the Department of City Planning submitted Application No.

N 010508 ZRY to the City Planning Commission to amend the definition of

“adult establishment” contained within Z.R. § 12-10 and, ------
                                                         inter alia to impose

additional restrictions relating to adult businesses. On October 31, 2001, the




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City Council adopted and ratified Text Amendment N 010508 ZRY to the

Zoning Resolution of the City of New York (the “2001 Resolution”).



      19. The 2001 Resolution is significantly more restrictive than the 1995

Resolution. The “substantial portion” language of the 1995 Resolution was

removed from the definition of “adult establishment” so that the 60/40

Provision is no longer applicable to theaters, eating or drinking

establishments, private viewing booths, or any use other than a “bookstore.”



      20. Section 12-10 still requires a bookstore to devote less than a

substantial portion (40 percent) of its stock and accessible floor area to adult

material. However, the 2001 Resolution includes nine other “features” that

building inspectors can consider in determining whether a business that

complies with the 60/40 floor space and stock requirements is an

impermissible adult establishment.


      21. On June 6, 2017, the New York Court of Appeals, with only five

Judges sitting, reversed the Appellate Division and trial judge, and upheld the

constitutionality of the 2001 Resolution. See For the People Theatres of N.Y.,

Inc. v. City of New York, 29 N.Y.3d 340 (2017).




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      22. On August 2, 2017, we entered a stipulation with the City whereby

existing 60/40 bookstores agreed to comply with all provisions of the 2001

Resolution against bookstores, except three (the “Stipulation”). (PJA.1875).


      23. Under the current stipulated status quo, bookstores must comply

with the established 60/40 Provision, requiring them to limit their adult

component to less than 40 percent of the customer accessible floor space and

stock. In addition, bookstores that fully comply with the 60/40 Provision can

still be subjected to sanctions if any one of these factors exist:

          a. An interior configuration and lay-out which requires customers
             to pass through an area of the store with “adult printed or visual
             material” in order to access an area of the store with “other
             printed or visual material” (Z.R. § 12-10[2][d][aa]);
          b. a method of operation which requires customer transactions with
             respect to “other printed or visual material” to be made in an area
             of the store which includes “adult printed or visual material”
             (Z.R. § 12-10[2][d][cc]);
          c. a method of operation under which “other printed or visual
             material” is offered for sale only and “adult printed or visual
             material” is offered for sale or rental (Z.R. § 12-10[2][d] [dd]);
          d. a greater number of different titles of “adult printed or visual
             material” than the number of different titles of “other printed or
             visual material” (Z.R. § 12-10[2][d][ee]);




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         e. a sign that advertises the availability of “adult printed or visual
            material” which is disproportionate in size relative to a sign that
            advertises the availability of “other printed or visual material”,
            when compared with the proportions of adult and other printed
            or visual materials offered for sale or rent in the store, or the
            proportions of floor area or cellar space accessible to customers
            containing stock of adult and other printed or visual materials
            (Z.R. § 12-10[2][d][gg]); and/or
         f. a window display in which the number of products or area of
            display of “adult printed or visual material” is disproportionate
            in size relative to the number of products or area of display of
            “other printed or visual material”, when compared with the
            proportions of adult and other printed or visual materials offered
            for sale or rent in the store, or the proportions of floor area or
            cellar space accessible to customers containing stock of adult and
            other printed or visual materials (Z.R. § 12-10[2][d][hh]).
      24. Under the Stipulation, the City agreed not to require compliance

with the following provisions: (1) the prohibition against one or more

individual enclosures where adult movies or live performances are available

for viewing by customers (Z.R. § 12-10[2][d][bb]); (2) the prohibition against

excluding or restricting minors from the store as a whole or from any section

of the store with non-adult material (Z.R. § 12-10[2][d][ff]); and (3)

authorizing the Building Commissioner to adopt rules relating to

“configuration and layout or method of operation”, which the Commissioner

believes render the sale or rental of adult material a “substantial purpose” of

the business conducted in such store (Z.R. § 12-10[2][d][ii]).




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      25. The City remains free to enforce all provisions of the 2001

Resolution against any new bookstores that commenced operating after June

6, 2017, when the New York Court of Appeals issued its Remittitur in For the

People Theatres v. City of New York, No. 121080/02, APL 2015-00273.


      26. These Plaintiffs have not made any prior application to this Court

or any other to enjoin enforcement of the 2001 Resolution. A different

bookstore, which is not part of this action, made prior applications for

injunctive relief to the State courts, which were granted in For the People

Theatres of N.Y., Inc. v. City of New York, Index No. 121080/02 (Sup. Ct.

N.Y. Co.).


      27. For example, on October 29, 2002; September 13, 2006; and June

30, 2011, Justice Louis B. York granted preliminary injunctions to stay

enforcement of the 2001 Resolution. On June 15, 2010, the Appellate

Division, First Department granted a preliminary injunction. However, on

June 27, 2017, a Judge of the New York Court of Appeals denied that

plaintiff’s application for a stay pending an application to the United States

Supreme Court for a writ of certiorari. On July 6, 2017, a Justice of the

Supreme Court denied that plaintiff’s application for a stay pending its




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application for a petition for certiorari. JGJ Merchandise Corp. v. City of New

York, No. 17A38.


      28. The applications for injunctive relief in 2017 were based on

different grounds than those presented in this action. Specifically, that

plaintiff was asking the Court to resolve the question of “[w]here a

municipality seeks to regulate and restrict the operation of establishments that

offer expression protected by the First Amendment under a zoning ordinance,

what burden of proof must the municipality bear once the constitutionally

protected establishments have furnished evidence that disputes the rationale

for the municipality’s zoning ordinance?”


      29. The bookstore Plaintiffs have not presented that issue in this federal

proceeding. Instead, this motion for a preliminary injunction is predicated

largely on the City’s failure to provide adequate alterative avenues for

constitutionally protected expression.


      30. This application is made in good faith and not for purposes of delay.




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      31. I respectfully ask the Court to grant the Plaintiffs' motion for a

preliminary injunction and such other and additional relief as is just under all

the circumstances of this case.

November 13, 2018


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                                       Erica T. Dubno, Esq.




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